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                              SUPREME COURT OF THE STATE OF NEW YORK
                                       COUNTY OF NEW YORK


          KEYFI, INC.,
                                                                     Index No.
                                              Plaintiff,
                                                                     Index No. Purchase:
                         v.
                                                                     SUMMONS
          CELSIUS NETWORK LIMITED and CELSIUS KEYFI
          LLC                                                        Plaintiff designated New York
                                                                     County as the place of trial based
                                              Defendants.            upon CPLR 503




         TO THE ABOVE NAMED DEFENDANTS: CELSIUS NETWORK LIMITED and CELSIUS
         KEYFI LLC


                  YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve
         a copy of your answer on the Plaintiff’s attorneys within 20 days after the service of this
         summons, exclusive of the day of service (or within 30 days after service is complete if this
         summons is not personally delivered to you within the State of New York); and in case of your
         failure to appear or answer, judgment will be taken against you by default for the relief
         demanded in the complaint.

         Dated: July 7, 2022
                New York, New York                   ROCHE FREEDMAN LLP

                                                     /s/ Kyle W. Roche
                                                     Kyle W. Roche
                                                     Daniel Stone
                                                     Peter Bach-y-Rita (pro hac vice pending)
                                                     99 Park Avenue, 19th Floor
                                                     New York, NY 10016
                                                     Telephone: (646) 350-0527
                                                     Facsimile: (646) 392-8842
                                                     Email: kyle@rochefreedman.com
                                                     Email: dstone@rochefreedman.com
                                                     Email: pbachyrita@rochefreedman.com

                                                     Devin (Velvel) Freedman
                                                     1 SE 3rd Ave.




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                                               Suite 1240
                                               Miami, FL 33131
                                               Telephone: (305) 306-9211
                                               Facsimile: (646) 392-8842
                                               Email: vel@rochefreedman.com




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                               SUPREME COURT OF THE STATE OF NEW YORK
                                        COUNTY OF NEW YORK




          KEYFI, INC.,

                                          Plaintiff,
                          v.                                           COMPLAINT
          CELSIUS NETWORK LIMITED and CELSIUS KEYFI
          LLC
                                                                       Index No. ___________
                                          Defendants.




                KeyFi, Inc (“KeyFi”) (“Plaintiff”) files their complaint against Celsius Network Limited

         (“Celsius”) and Celsius KeyFi LLC (“Celsius KeyFi”), and allege as follows:

                                                INTRODUCTION

                1.      This action concerns Defendants’ refusal to honor its contractual obligations to pay

         Plaintiff the millions of dollars it is owed pursuant to a profit-sharing agreement that was entered

         into between the parties in January 2021. The dispute came to a head when Plaintiff discovered that

         the Defendants had been leveraging Celsius’ customer deposits to manipulate crypto-asset

         markets, had failed to institute basic accounting controls which endangered those same deposits,

         and had failed to carry through on promises that induced Plaintiff to undertake

         various trading strategies.

                2.      On June 12, 2022, these issues – which Plaintiff identified in March 2021 – have

         now caused harm not only to Plaintiff, but the hundreds of thousands of people who use

         Defendants’ platform, as Defendants are now refusing to honor requests by its customers to

         withdraw the assets they deposited and entrusted with Defendants.




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                3.      Defendants operate a “crypto-lending platform” that receives crypto-asset deposits

         from consumers seeking to earn interest on their crypto holdings. Defendants’ business depends

         on them using this pool of assets to generate income by (1) lending those assets to others and (2)

         investing the funds in the crypto markets. Defendants’ profits thus depend on them earning income

         above and beyond the amounts they need to pay to consumers for their deposits. Prior to Plaintiff

         coming on board, Defendants had no unified, organized, or overarching investment strategy other

         than lending out the consumer deposits they received. Instead, they were desperately seeking

         a potential investment that could earn them more than they owed to their depositors. Otherwise,

         they would have to use additional deposits to pay the interest owed on prior deposits, a classic

         “Ponzi scheme.”

                4.      The recent revelation that Celsius does not have the assets on hand to meet its

         withdrawal obligations shows that Defendants were, in fact, operating a Ponzi-scheme.

                5.      Jason Stone – the CEO and founder of KeyFi, Inc. – is a pioneer in the world of

         modern crypto-asset deployment strategies. From August 2020 through March 2021, he managed

         billions of dollars in crypto-asset investments for Defendants.

                6.      For most of that time, the parties operated without any formal written agreement,

         recognizing instead that they were engaged in an enterprise for “mutual benefit...based on mutual

         respect and trust.” From August 2020 through March 2021, Plaintiff generated hundreds of

         millions of dollars in profits for the parties’ mutual benefit. Those profits came in the form of

         transaction fees, rewards for staking tokens, and other appreciating assets. As in any investment

         relationship, Plaintiff and Stone were responsible for generating a profit on the funds provided to

         them, while Celsius was responsible for ensuring that its investment strategies would not prevent it

         from repaying its depositors in kind.




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                 7.      The parties’ relationship began to break down when Stone discovered that not only

         did Defendants lack basic security controls to protect the billions of dollars in customers’ funds

         they held, but that they were actively using customer funds to manipulate crypto-asset markets to

         their benefit. The most egregious example of this was Plaintiff’s discovery that Celsius used

         customer bitcoin deposits to inflate its own crypto-asset called the “Celsius token” (“CEL”).

                 8.      Stone also learned of multiple incidents where Defendants’ failure to perform basic

         accounting endangered customer funds. One such example included Celsius improperly

         accounting for certain payments owed to customers, resulting in a $200 million liability the

         company did not even understand how or why it owed.

                 9.      These incredible losses meant that the billions of dollars of customer deposits could

         not be returned to those customers in the event that the customers sought their funds back. Celsius,

         for its part, was not concerned about these risks because it believed that the billions of dollars of

         customer deposits it manages are its property. Specifically, Celsius’ terms of service, which are

         buried on its website, state that “all digital assets transferred to Celsius as part of the services are

         owned and held by Celsius for its own account.” Further, the Celsius Terms of Service state that

         “Celsius does not hold any Digital Assets on your behalf” but instead are “owned, held and/or

         controlled by Celsius.”

                 10.     When      Plaintiff   expressed     concern   regarding Celsius’s use    of   customer

         funds without appropriate risk management, Celsius executives repeatedly assured Stone that the

         company had entered necessary hedging transactions to ensure that price fluctuations in certain

         crypto-assets would not materially and negatively impact the company or its ability to repay

         depositors. Stone and his team relied on these representations when deploying certain trading

         strategies.




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                 11.      But these promises were lies. Despite its repeated assurances, Celsius failed to

         implement basic risk management strategies to protect against the risks of price fluctuation that

         were inherent in many of the deployed investment strategies. These failures not only harmed

         Plaintiff by negatively impacting the profit share, but have now caused Celsius to refuse to honor

         customer withdrawal requests.

                 12.      Celsius’ former CFO shared Plaintiff’s concerns and repeatedly raised these issues

         to Celsius’ senior management.1

                 13.      Faced with mounting evidence of Defendants’ disorganization, mismanagement,

         and fraud, Plaintiff concluded he could no longer work for Defendants. In March 2021, Plaintiff

         informed Defendants that he would be terminating the business relationship. Defendants retaliated

         by repeatedly refusing to recognize Stone’s resignation and then refusing to pay Plaintiff their

         share of the profits.

                 14.      The unfortunate events that have publicly unfolded in recent weeks show that

         Plaintiff was right – Celsius grossly mismanaged its customer funds, failed to perform basic

         internal auditing to account for its obligations, and manipulated crypto-assets to the benefit of itself

         and its principals.

                                                           PARTIES

                 15.      Plaintiff KeyFi, Inc. is a Delaware corporation with a principal place of business in

         New York, New York. Jason Stone is the founder and CEO of KeyFi.

                 16.      Defendant Celsius Network Limited is a private company incorporated under the

         laws of England and Wales, with a principal place of business in London, England. Celsius


         1
           The former CFO’s replacement has since been arrested in Israel in connection with a different fraudulent scheme.
         https://www.timesofisrael.com/another-2-leading-israeli-blockchain-pioneers-named-as-suspects-in-vast-crypto-
         scam/


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         Network Limited recently announced that it is exiting the United Kingdom in order to avoid that

         jurisdiction’s regulatory oversight.

                   17.      Defendant Celsius KeyFi LLC is a Delaware limited liability company with a

         principal place of business in Hoboken, New Jersey. At the time of its formation in 2020, Celsius

         KeyFi’s only members were Celsius Network Limited and Jason Stone.

                                             JURISDICTION AND VENUE

                   18.      Jurisdiction is proper in this Court, and this Court has personal jurisdiction because

         pursuant to the KeyFi Asset Purchase Agreement, each of Celsius Network Limited and Celsius

         KeyFi LLC consented to the exclusive jurisdiction of the competent courts in New York County,

         New York. Additionally, jurisdiction is proper in this court pursuant to CPLR 302 because they

         transact business in New York and committed tortious acts in New York.

                   19.      Venue is proper pursuant to CPLR 503 because a substantial part of the events

         giving rise to Plaintiff’s claims occurred in this county and because Plaintiff is a resident of this

         county.

                                               FACTUAL ALLEGATIONS

            A.           Crypto-assets and smart contracts

                   20.      Crypto-assets are digital assets that use a variety of cryptographic principles to

         secure transactions, control the creation of additional units, and verify their transfer.

                   21.      Bitcoin is the world’s first major crypto-asset. It launched in 2009, has a current

         market cap of approximately $390 billion, and is the most well recognized crypto-asset. But it is

         by no means the world’s only crypto-asset. To the contrary, the total market cap of non-Bitcoin

         crypto assets totals more than $500 billion.




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                 22.      Ether is another well-recognized crypto-asset with a $143 billion market cap. While

         Bitcoin mainly functions as a store of value or medium of exchange, Ether powers the Ethereum

         network which permits advanced coding to take place on the blockchain. One manifestation of this

         advanced coding capability is “smart contracts.”

                 23.      At its core, a smart contract is an immutable program that allows a contract or deal

         to be immortalized on the blockchain, and then, ensures that this immutable contract is executed

         without the need for, or possibility of, further human intervention. A simple example of a smart

         contract would be a self-enforcing bet over whether the United States will take the most gold

         medals at the 2020 Olympics. Each participant locks 10 ether into a smart contract. They can no

         longer get their ether back. At the conclusion of the Olympics, the smart contract will check the

         source both parties agreed was authoritative and distribute the 20 ether to the winner.

            B.         The Rise of Decentralized Finance

                 24.      Traditionally, monetary services are performed by centralized banks or brokerage

         houses. If an individual wanted a loan, she went to J.P Morgan Chase (“JPM”) and applied for

         one. If an individual wanted to trade securities on the NASDAQ, she opened an account with TD

         Ameritrade (“TDA”). In either case, JPM or TDA completely administered the process. JPM

         processed the application, approved the loan, distributed the loan, and collected the interest

         payments as profit. TDA handled your account, executed your trades, reconciled its books, and

         kept the fees paid for any trade. Historically, the same was true for crypto-asset exchanges. For

         example, Coinbase lists crypto-assets, manages the order book, reconciles trades, and keeps fees.

                 25.      With the advent of smart contracts, these sort of traditional money services can now

         be “decentralized.” In lieu of a single company administering loans or facilitating the trading of

         crypto-assets, individuals called “Liquidity Providers” can pool their assets into “liquidity pools”

         using smart contracts on the Ethereum blockchain. These smart contracts can be programmed to


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         make loans or facilitate crypto-asset swaps, which in turn allows Liquidity Providers to capture

         profits in the form of interest and fees that have historically been captured by banks or brokers.

                 26.      This decentralization of traditional money services is called Decentralized Finance,

         or “DeFi.”

                 27.      To incentivize the use of these smart contract platforms above and beyond the fees

         generated from being a Liquidity Provider, DeFi companies create their own crypto-assets called

         “governance tokens” and award them to users of their platforms. This is similar to how airlines

         issue “airline-miles” to people who book their flights and how credit card companies issue “points”

         to people who use their cards. Some of these newly issued governance tokens trade at hundreds,

         thousands, and even tens of thousands of dollars for each token– thus exponentially increasing the

         value (and attraction) of engaging in DeFi activities.

            C.         Celsius’ Business Model

                 28.      Celsius is a crypto-asset borrowing and lending platform that facilitates loans in

         various crypto-assets. Celsius’ business model is similar to a depository lender that accepts

         monetary deposits from consumers and then uses those funds to provide liquidity to the market via

         loans and investments. In Celsius’ case, however, instead of fiat currency, depositors surrender

         their crypto-assets to Celsius in return for a promised interest rate.

                 29.      Like a bank, Celsius is meant to invest those funds responsibly, earn a return, pay

         the depositors the interest they earned, and keep the profit. Importantly, if Celsius fails to

         profitably invest depositors’ funds in investments that earn more than the interest owed, they will

         operate at a loss. Central to consumer trust, however, is the promise that upon request, Celsius has

         sufficient funds to return the crypto-asset deposits for each of its users.

                 30.      While Celsius’ business model is designed to replicate traditional depository

         banking, their terms of service attempt to shield them from the same responsibilities owed by


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         traditional depository institutions. For example, the terms of service provide that any funds

         deposited are not, in fact held on the customer’s account, but instead become the property of

         Celsius to do with however it wants. And, unlike a traditional depository institution, Celsius does

         not maintain its own insurance against any losses of its customers’ funds. Celsius effectively takes

         no responsibility for its customers’ funds.

                31.     Celsius does not make loans to consumers based on creditworthiness; it only issues

         loans to retail borrowers that deposit crypto-assets for use as collateral. For example, if a borrower

         wants to borrow $10,000 using bitcoin as collateral, it must deposit almost four times that amount

         in bitcoin to lock in the lowest offered interest rates.2 Borrowers must also ensure they stay within

         certain loan-to-collateral ratios or Celsius will liquidate the collateral to secure the loan. This is

         not unlike margin calls at traditional stock brokerage houses.

                32.     Like many other crypto-asset businesses, Celsius issued its own crypto-asset called

         the “CEL token” in March 2018. The way Celsius promotes use of its CEL token is that users who

         elect to receive interest payments from Celsius in the form of CEL tokens are paid higher interest

         rates than Celsius otherwise pays on deposits. Similarly, customers who repay loans with CEL

         tokens are charged lower interest rates. Critically, all of Celsius’ accounting for purpose of its

         business operations is done in US dollar-based accounting. Accordingly, if the CEL token price

         rises, Celsius can pay its customers who are owed interest a smaller sum of total CEL tokens.

                33.     As a result of the growing demand for crypto-lending platforms, the amount of

         deposits that Celsius custodies for its consumers has grown incredibly large. Indeed, just months

         prior to this filing, Celsius held more than $20 billion worth of crypto-asset deposits.



         2
          Figures from https://celsius.network/borrow-dollars-using-crypto-as-collateral (last accessed on
         July 7, 2022).


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                 34.      Despite this incredible sum of customer deposits, Celsius and its management have

         little experience trading and investing crypto-assets. This lack of expertise came to the fore as

         Celsius sought to become involved in DeFi, where innovative and complex strategies took off in

         the summer of 2020. Seeing the opportunity to use its customer funds to participate in the DeFi

         mania, Celsius sought to bring an expert on board who would handle customer funds to deploy in

         DeFi protocols.

            D.         Celsius Recruits Stone and His Team to Manage Its Customer Deposits

                 35.      In the summer of 2020, Celsius found and courted its crypto-asset trading team.

                 36.      Jason Stone is the founder and CEO of KeyFi, a technology company that

         specializes in decentralized finance deployments, strategies, and software. Stone and his team were

         highly successful in the DeFi space and accomplished at deploying lucrative DeFi strategies. Stone

         was also well-known to the founders of Celsius. In late 2019 through early 2020, Alex Mashinsky

         (the founder and CEO of Celsius) and Nuke Goldstein (co-founder and CTO of Celsius) had both

         invested tens of thousands of dollars in KeyFi.

                 37.      In 2020, Stone spoke with Mashinsky and other managers of Celsius numerous

         times to discuss the possibility of Celsius using KeyFi’s expertise to deploy advanced strategies to

         make money on its customer deposits. That summer, Plaintiff and Celsius cut a handshake deal

         where Plaintiff would manage billions of dollars in customer crypto-deposits in return for a share

         of the profits generated from those crypto-deposits.

                       1. Stone begins to manage Celsius deposits on a handshake deal

                 38.      On or around August 19, 2020, without a formal agreement in place, Celsius began

         transferring hundreds of millions of dollars in crypto-assets to Stone and his team. Celsius created

         a new Ethereum wallet address, referred to as the “0xb1” account and transferred nearly all the

         assets Stone was to deploy into that address.


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                39.     At all times, Celsius maintained complete control over the 0xb1 account; indeed,

         for most of the time that Stone worked with Celsius, he could only access the 0xb1 account

         by using a VPN to login to a computer controlled by Celsius that was already logged into the 0xb1

         account.

                40.     Stone was provided direct access to the 0xb1 account shortly after Celsius’ platform

         was hacked through a “DNS attack” via its service provider GoDaddy.com. During the hack,

         which affected all of Celsius’ cloud infrastructure and environments, Celsius and KeyFi were

         concerned that the hackers could have complete access to all Celsius’ network traffic. Thus, to

         protect the 0xb1 account, Celsius provided Stone with the private keys to the 0xb1 account so that

         he could access the account without risk of interruption.

                41.     All deposit and trading history associated with the 0xb1 account can be located

         here: https://etherscan.io/address/0xb1adceddb2941033a090dd166a462fe1c2029484.

                42.     Despite the incredible value of the transferred assets and the parties’ intent to share

         profits on the transferred assets, there was no formal written agreement between the parties. Rather,

         Celsius continued to transfer hundreds of millions of dollars to Stone, which Stone and his team

         continued to invest, all on a handshake agreement that the parties would deal with each other

         honestly and squarely and settle up who owed what to whom at some later date.

                43.     In addition to transferring crypto-assets to Stone for investment, Celsius also

         engaged in certain transactions on Stone’s behalf but without transferring the assets to Stone’s

         control. The parties agreed that these transactions would be tracked and profits and losses related

         to these transaction of such coins would be reflected in KeyFi’s own profit and loss statement for

         purposes of computing KeyFi and Stone’s share of profits.




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                44.      This arrangement made sense because all crypto-assets deployed by Stone and his

         team were provided by Celsius; therefore, it did not matter if coins were actually transferred to

         KeyFi’s control before being deployed. This arrangement also reflected the relationship between

         the parties was one of trust and confidence—both parties relied on each other to account for the

         funds being utilized for their mutual benefit.

                45.      In October 2020, Celsius and Stone decided to engage in certain DeFi trading

         activities that required appropriate risk management and hedging to guard against price

         movements in certain crypto-assets. Specifically, Celsius’ management told Stone that it would

         monitor Stone’s DeFi trading activities and deploy certain hedges that would guard against price

         increases in ether (the crypto-asset native to the Ethereum blockchain) given that Stone was

         managing and placing a significant sum of ether deposits into DeFi investments likely to return

         non-ether-denominated assets.

                      2. The Celsius / KeyFi MOU

                46.      KeyFi’s investment strategies were extremely profitable. Consequently, after just

         over a month of KeyFi’s management, on or around October 1, 2020, Celsius Network and KeyFi

         entered into a Memorandum of Understanding (the “MOU”) in which they agreed to work towards

         the formation of a structure in which KeyFi would contribute intellectual property and its

         employees to a special purpose vehicle to be owned by Celsius Network.

                47.      As set forth in the MOU, KeyFi was to deploy customer deposits into three types

         of investment activities: “Staking Coins,” “Staking Plus Coins,” and “Decentralized Finance

         Activities” (aka “DeFi”). MOU Art. 3 § 4.

                48.      Staking is similar to Certificates of Deposit at a traditional bank. To “stake” a

         crypto-asset, a user commits that crypto-asset to a particular network or platform, usually for a set




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         period of time during which it cannot be withdrawn. The network/platform that receives the

         “staked” asset will pay the depositor with a crypto-asset, otherwise known as a “coin.”

                49.     “Staking Plus” refers to staking activities in which the receiving network/platform

         pays the depositor with multiple “coins,” not just one.

                50.     The MOU called for KeyFi to receive 7.5% of “Net Profits” for all staking activity

         and 20% of Net Profits for DeFi activity, which requires both greater sophistication and a greater

         commitment of time. The parties envisioned that the majority of profits would be generated from

         DeFi activity and that KeyFi would receive 20% of these Net Profits.

                51.     The MOU contains a number of provisions that are especially relevant to this

         dispute.

                52.     First, the MOU memorialized the fact that the parties would continue working

         together until a formal agreement and structure could be put in place, stating that: “[d]uring the

         period starting at the date when both the parties sign this MOU until the Closing of the Definitive

         Agreement (the ‘Transition Period’), Celsius Network may deploy and/or transfer coins with

         KeyFi and/or its representatives for the purpose of generating yield for Celsius Network.” MOU §

         Art. 10.

                53.     Second, the MOU recognized that “deploying” crypto-assets with KeyFi was

         different than “transferring” those crypto-assets to KeyFi – in other words, it recognized that

         crypto-assets could be deployed without being transferred to KeyFi. MOU § Art. 10. (“Celsius

         Network may deploy and/or transfer coins with KeyFi...”).

                54.     Third, the MOU memorialized the fact that KeyFi and Celsius had a special

         relationship of trust and confidence, and not a normal arms-length business relationship. In fact,

         the very first line of the MOU stated that the parties were entering into the agreement “for




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         enhancing mutual benefits through the cooperation of both parties based on mutual trust.” MOU

         at 1. The MOU continues: “‘Celsius Network’ and ‘KeyFi’ shall commence strategic business

         arrangement in order to enhance mutual benefits by collaboration on mutual respect and trust.” Id.

                55.      The parties memorialized their special relationship of mutual respect and trust

         because of the highly risky and unusual circumstances of their business relationship. Celsius had

         already (prior to the MOU) transferred hundreds of millions of dollars to Stone and his team

         without a formal written agreement of any kind.

                56.      For its part, KeyFi was agreeing to dedicate all of its resources, and incur significant

         opportunity costs, to manage Celsius’ investments, all without the protection of any formal

         documentation. Among other things, KeyFi was relying on Celsius to deploy the necessary

         hedging trades necessary to complement KeyFi’s investment strategy and protect KeyFi and

         customer deposits from loss due to price fluctuations in the relative value of traded crypto-assets.

         And of course, KeyFi was trusting that its new business partner, Celsius, would generally conduct

         its business with integrity.

                      3. The Asset Purchase Agreement and the Service Agreement

                57.      Stone continued successfully managing Celsius’ customer deposits. Celsius was

         obviously extremely happy with his management as they (1) continued to send him funds to deploy

         on a weekly basis and (2) move forward to formalize the agreement contemplated by the MOU.

         Eventually, on or around December 31, 2020, the discussions between KeyFi and Celsius were

         formalized into a series of two contracts that were drafted by Celsius: (1) an Asset Purchase

         Agreement (the “APA”) (attached hereto as Exhibit A) and (2) a Service Agreement (the “Service




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         Agreement”) (attached hereto as Exhibit B).3 The APA and Service Agreement were executed on

         January 11, 2021, i.e., six months after Stone began managing Celsius’ funds and three months

         after signing the MOU.

                58.     At a high level, the APA was an agreement for Stone and KeyFi to sell certain

         proprietary software and trading technology to Celsius for a purchase price; and the Service

         Agreement was an agreement for Stone to continue managing Celsius’ crypto-deposits. To

         effectuate the Agreements, Celsius created a special purpose vehicle (the “SPV”) named Celsius

         KeyFi LLC which was organized as a wholly owned subsidiary of Celsius. Under the APA, KeyFi

         agreed to (i) contribute substantially all of its assets to the SPV and (ii) supply the SPV with

         staffing. Then, pursuant to the Service Agreement, Celsius agreed to transfer crypto-assets to the

         SPV which KeyFi’s personnel would then manage and invest.

                59.     An important consequence of the APA was that Celsius assumed all liabilities for

         the SPV and that KeyFi’s liabilities ceased as of the closing date. Section 2.2 of the APA provides:

         “On the terms and subject to the conditions set forth in this Agreement, at the Closing, [KeyFi]

         will assign to [Celsius], and [Celsius] will assume and be responsible solely for, any Liability

         related to [KeyFi’s] Assets that accrue as of and subsequent to the Closing, and do not arise from

         any breach committed by [KeyFi] or on its behalf on or prior to the Closing.”

                60.     One of the main purposes of the APA was to remove the deployed assets from

         KeyFi’s custody and consolidate them into an SPV wholly owned and controlled by, Celsius –

         largely removing KeyFi from the picture. As a result, immediately after the execution of the APA

         and Service Agreement, KeyFi was no longer performing services for, or holding assets of, Celsius



         3
           Initially capitalized terms used in this section and not otherwise defined in this Complaint have
         the meaning ascribed to them in the APA and the Service Agreement.


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         and KeyFi’s contractual obligations and liabilities under all agreements with Celsius were fully

         performed and discharged. At that point, KeyFi had no continuing liabilities or obligations but it

         did have continuing rights, in particular the right to receive payments of the “Purchase Price,” as

         more fully explained below.

                               i. The APA Purchase Price

                61.      As consideration for the sale of assets under the APA, Celsius and Celsius KeyFi

         agreed to pay KeyFi the Purchase Price, which in pertinent part consisted of the following:

                      b. $65,000 U.S. dollars at Closing. APA §3.1(a). This was paid to KeyFi shortly after
                         closing.

                      c. Certain amounts of CEL Tokens, to be paid as follows: (i) 175,000 CEL Tokens at
                         Closing, (ii) 87,500 CEL Tokens six months after Closing, and (iii) 87,500 CEL
                         Tokens on the first anniversary after Closing. APA §3.1(b). Celsius has failed to
                         make any of these payments.

                      d. The “Earnout Payment.” APA §3.1(c). While this capitalized term is undefined, the
                         APA states that it will be defined by the Services Agreement Key Terms and paid
                         in accordance with the Services Agreement.

                62.      The Service Agreement Key Terms is attached to the APA as Schedule 7.8(b). It

         also fails to define “Earnout Payment,” but does set forth a detailed profit-sharing scheme.

         Schedule 7.8(b) is reproduced verbatim in the Services Agreement which likewise fails to define

         the term Earnout Payment. However, the Services Agreement does state that Schedule B to the

         Services Agreement constitutes the “sole and exclusive compensation for the Services.” Thus,

         Schedule 7.8(b) of the APA and Schedule B of the Services Agreement – which are identical

         except for formatting differences – constitute the Earnout Payment.

                                 ii. Calculation of the Earnout Payment
                63.      The Payment Terms provide the percent of Net Profit that Stone/KeyFi are entitled

         to receive from investing Celsius’ customer deposits into various DeFi strategies. APA Schedule

         7.8(b) §3-4. The percentages change depending on the strategies deployed:


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                       a. For Staking Coins4 and Staking Plus Coins,5 Plaintiff was to get 50% of Net
                          Profits through 2022. Id. § 3(a).

                       b. For Authorized Decentralized Finance Activities,6 Plaintiff was to get 20% of Net
                          Profits through 2022. Id. § 4.

                 64.      The parties provided a formula to arrive at Net Profits which was defined as the

         gross profits generated by Celsius KeyFi across activities in all coin types, minus expenses:

                 Net Profit = Total Period Gross Profit for All activities in USD - Salaries * 2 (for
                 initial 5 employees) - Hardware/Cloud Expenses - Cumulative losses from Previous
                 Periods – Insurance Policy Costs - Staking Costs - Transaction Fees.

         Id. §9 (emphasis added). As such, the parties expressly called for Net Profits to be calculated and

         denominated in U.S. dollars. Id. §9; Services Agreement Schedule B § 9 (emphasis added),

         consistent with the balance of the contract which treats USD as the “base currency” of the

         agreement, APA Schedule 7.8(b) § 6(e).

                 65.      Net Profits is defined in the APA and the Service Agreement as a function of Gross

         Profits for all Activities in USD minus certain costs and overhead expenses. In breach of the APA

         and the Service Agreement, Celsius has refused to provide KeyFi with an accounting of such costs

         and expenses. However, KeyFi estimates that Gross Profits allocable to the parties exceeds $838

         million less such costs and expenses.

                 66.      In breach of the APA, Celsius and the SPV have refused to pay KeyFi its agreed

         share of these profits.




                 4
                  Defined as “a type of mining through which new coins are earned through maintaining
         deposits of coins on a platform.” APA Schedule 7.8(b) §1(h)
                 5
                  Defined as “Staking Coins with respect to which the staking activity generates earnings
         of multiple types of coins.” Id. §1(i).
                 6
                   Defined as “any deployed coins, such as BTC, ETH, stable coins, and other assets are
         [sic] deployed to authorized activities which earn coins from lending, borrowing, high-frequency
         liquidity provisions, and other authorized DeFi activities.” Id. § 1(c).


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            E.         Celsius’ Failure to Hedge Stone’s DeFi Activities

                 67.      Celsius, for its part disputes that KeyFi earned it any profits because Celsius failed

         to protect itself from the risk of crypto-asset appreciation. Celsius’ customers provide it with

         crypto-assets, and expect to receive those assets back in the same form. Celsius provided similar

         assets to Stone and KeyFi to invest, but provided for profits to be evaluated in USD. This created

         a risk for Celsius that KeyFi might earn it a USD profit, but that, if the crypto-asset appreciated in

         value, it might not be able to profitably repurchase the base crypto-asset.

                 68.      For example, if Celsius provided KeyFi with 100 ether worth $100,000 in total (or

         $1,000 per token), and KeyFi’s investments returned a mixture of coins comprised

         of 50 ether and a mix of other coins worth $150,000 in total, it cannot be disputed that that would

         constitute a profitable investment in USD. If, however, over the same period, ether’s price rose to

         $1,250 per token, and Celsius needed to convert its USD investment into ether, it would have to

         use some of these USD profits to do so. If ether’s price rose even further, it might overtake the

         profits and require Celsius to use its own funds to purchase the ether. This potential risk, which is

         a product of Celsius’ relationships with its customers and need to return funds to them in the same

         kind as were deposited, is unaddressed in the parties’ agreement and thus remained with Celsius.

                 69.      At all times, there existed a simple solution for this risk: futures contracts for each

         coin provided to Stone and KeyFi. In other words, if Celsius had purchased call options at the spot

         price of each token it provided to Stone and KeyFi, it would have entirely obviated the risk that

         the assets appreciated in ways that ate into Celsius’ USD profits.

                 70.      Indeed, Celsius was aware of both this risk and the solution. Both before and after

         execution of the APA and the Service Agreement, Celsius represented to Stone that it was tracking

         his DeFi activity, balancing his risk through various hedging strategies, and that such trades




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         executed in performance of that strategy were considered an “approved activity” in accordance

         with the terms of the APA and the Service Agreement.

                71.      Celsius’ owners and managers have even boasted publicly about being savvy about

         managing exchange rate risks. In DeFi investment “impermanent loss” refers to losses caused by

         exchange rate volatility. On May 20, 2021, Celsius CEO Alex Mashinsky wrote on Twitter that

         DeFi “looks easy until you get bitten or understand the impact of impermanent loss and volatility.”

         Mashinksy’s tweet then touted the sophistication of Celsius with the tagline “Unbank Yourself and

         let us manage these rough waters for you.”

                72.      Stone understood that Celsius would eventually provide Celsius KeyFi with an

         accounting of all transactions that were supposed to be attributed to Celsius KeyFi’s balance sheet

         and profit and loss statement, including the hedging transactions.

                73.      To date, Celsius has refused to provide Stone as CEO of KeyFi, or in his capacity

         as CEO of Celsius KeyFi, with a full accounting of the transactions it was attributing the Celsius

         KeyFi account.

                74.      Critically, Celsius has failed to provide KeyFi or Stone with an accounting

         reflecting any of the hedging transactions it was supposed to make on Stone and Celsius KeyFi’s

         behalf. This is because, on information and belief, Celsius lied to Stone and never engaged in these

         transactions.

                75.      Celsius’ failure to hedge was a big mistake. As Celsius well knew, Stone’s DeFi

         strategy involved contributing large amounts of ether into liquidity pools, which has the effect of

         reducing the amount of ether in the pool when ether appreciates. With a proper hedge, this would

         not matter. But over the course of these transactions, ether appreciated considerably relative to

         both other crypto-assets and the dollar. Had Celsius hedged against that exact risk as the parties




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         agreed both before and after execution of the APA, the parties would have enjoyed substantial

         additional Net Profits.

            F.         Stone Learns of Celsius’ Gross Mismanagement of Its Customers’ Funds

                 76.      In January 2021, around the time the APA and the Service Agreement were

         executed, Stone grew alarmed by Celsius’ improper business practices, ultimately concluding that

         its business practices were so corrupt that he and KeyFi could no longer do business with Celsius.

         Three discoveries by Stone formed the basis for his decision to extricate himself from his position

         as CEO of Celsius KeyFi:

                 77.      First, Stone became aware that since at least February 2020, Celsius had engaged

         in a series of transactions designed to artificially inflate the price of CEL tokens. Connor Nolan,

         head of coin deployment at Celsius, informed Stone that Celsius had used approximately 4,500

         bitcoin, with a current value of $90 million, in customer deposits to purchase CEL on the open

         market between February 2020 and November 2020 to artificially inflate the price.

                 78.      The purpose of this scheme was both fraudulent and illegal: Celsius induced

         customers to be paid in CEL tokens by providing them with higher interest rates. Then by

         purposefully and artificially inflating the price of the CEL token, Celsius was able pay customers

         who had elected to receive their interest payments in the form of the CEL token even less of the

         crypto-asset.

                 79.      In addition, by artificially increasing the price of the CEL token, Mashinsky – who

         personally owned hundreds of millions of dollars’ worth in CEL token at its height – was able to

         enrich himself considerably.

                 80.      This scheme also made it appear that there was substantial demand for, and volume

         of trading in, CEL tokens. Celsius used this artificial demand to convince lenders that the CEL

         tokens it held in its treasury were a liquid, market-viable asset which could be used as collateral


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         for loans to Celsius. Celsius utilized these loans to pay customers their interest and to provide

         customers with loans backed by crypto-currency collateral. Because Celsius was still struggling to

         develop its own profits, these loans were essential to Celsius’ continuing operations. Essentially,

         Celsius was manipulating the market for CEL tokens so that it could borrow against its sizable

         treasury to create the appearance it was generating yields in excess of the amounts owed to clients,

         when in fact it was not.

                 81.     Second, Stone became aware that Celsius had deceived him about the existence of

         hedging transactions designed to hedge against the authorized DeFi transactions Stone was

         performing. Celsius’ failure to implement the promised hedging transactions harmed not just Stone

         and KeyFi. Stone learned that Celsius had exposed other customer deposits (i.e., not managed by

         the SPV) to potentially billions of dollars in losses by failing to properly hedge against all its profit

         seeking activities.

                 82.     Third, Stone learned of further financial mismanagement that threatened to plunge

         Celsius into insolvency. As mentioned above, Celsius paid a portion of interest on deposits in CEL

         tokens and a portion of interest in other crypto-assets such as bitcoin and ether. With respect to

         consumers who chose to be paid in the crypto-asset they deposited (rather than CEL tokens),

         Celsius logged those liabilities on its books in a U.S. dollar denominated basis from 2018 through

         2020 despite the fact that it paid its customers out in the underlying token. It then failed to mark-

         to-market those assets in its internal ledger as those crypto-assets appreciated, creating a

         substantial hole in its accounting.

                 83.     Throughout 2020 and 2021, crypto-assets such as bitcoin and ether substantially

         appreciated compared to the dollar. Yet Celsius failed to update its ledger in order reflect the

         increased dollar value of its liabilities at least at any time before 2021. The accounting error




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         masked hundreds of millions of dollars in liabilities that Celsius was not prepared to pay out. When

         Jason Stone left Celsius, Celsius had a $100-$200 million hole on its balance sheet that it could

         not fully explain or resolve. Despite this balance sheet insolvency, Celsius continues to take on

         more customer assets, which means it continues to accrue considerable liabilities to the detriment

         of its current creditors.

             G.          The Celsius Ponzi Scheme

                   84.      In January 2021, the crypto-markets began a bull cycle which caused Celsius (who

         had recklessly and fraudulently failed to hedge its investments) to suffer severe exchange rate

         losses.

                   85.      In January 2021, the price of ether increased over 50% in just a couple of days and

         continued to climb over the next few weeks, going from a low of 0.24 BTC per ether on January

         1 to a high of 0.45 BTC per ether token on February 4.

                   86.      Celsius had massive liabilities to depositors denominated in ether but had not

         maintained ETH holdings equal to those liabilities. Instead, Celsius had authorized DeFi strategies

         that resulted in the shifting of assets from ether to other cryptocurrencies and (inexplicably) had

         failed to hedge against this well-known risk.

                   87.      As customers sought to withdraw their ether deposits, Celsius was forced to buy

         ether in the open market at historically high prices, suffering heavy losses. Faced with a liquidity

         crisis, Celsius began to offer double-digit interest rates in order to lure new depositors, whose

         funds were used to repay earlier depositors and creditors. Thus, while Celsius continued to market

         itself as a transparent and well capitalized business, in reality, it had become a Ponzi scheme.




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            H.          Jason Stone Resigns; Celsius Refuses to Pay

                  88.      By March 2021, it was clear to KeyFi that Celsius was lying about having hedging

         in place, a mistake that could be financially ruinous for Celsius and its consumers. It could also

         irreparably damage KeyFi’s reputation.

                  89.      At that point, Celsius had already missed the first payment (“Earnout payment”)

         due to KeyFi within 15 days of December 31, 2020 and had never paid out any profits owed to

         KeyFi or the SPV. Moreover, Defendants showed no intention of making the required payments

         of profits under the MOU, the APA, and the Service Agreement. While Stone had been authorized

         to purchase NFTs (“non-fungible tokens”) as pre-payment of the profit share under the MOU, the

         APA, and the Service Agreement, Celsius failed to provide a specific accounting of the total profit

         share.

                  90.      On March 9, 2021, Stone informed Celsius that he would not continue to serve as

         the CEO of Celsius KeyFi.

                  91.      After Stone left Celsius KeyFi, Celsius maintained access and control of the 0xb1

         wallet. Celsius’ CEO, Alex Mashinsky, used that control for his own personal benefit. In one

         example, Celsius’ CEO transferred valuable NFTs from the 0xb1 accounts to his wife’s wallet.

                  92.      On information and belief, since Stone resigned, Celsius has not found other

         accretive acquisitions that can cover the high interest rates it offers to its depositors. Because its

         business model depends on offering depositors more money than they put it, Celsius must

         consistently take in new capital to pay its obligations to its current depositors. In other words,

         Celsius is a Ponzi scheme.

                  93.      For example, in order to cover its increasing obligations, Celsius was required to

         take a loan of approximately $1 billion from Tether. While Celsius pays Tether 5-6% in interest




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         on this billion-dollar loan, it owes its clients significantly more on many of the popular coin it

         accepts as deposits:




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                  94.      The Tether loan, alongside other Celsius deposits, has been used to cover up the

         fact that Celsius is, in fact, balance sheet insolvent, with less money in its coffers than it owes its

         depositors. Even in light of this, up until it recently when it halted customer withdrawals, Celsius

         continued promoting its high-interest-rate deposits in order to induce new depositors to provide it

         with more capital to pay back earlier depositors.

             I.         Demand for Audit and Accounting

                  95.      Section 7.1(b)(i) of the APA provides KeyFi with the right to an audit, as against

         Celsius KeyFi, as follows:

                  Within the later to occur of fourteen (14) calendar days after any payment by Buyer
                  due under this Agreement (the “Obligation”), or thirty (30) calendar days after any
                  such scheduled payment accrued, if Seller is dissatisfied with the payment, or if
                  non payment occurs, Seller may invoke an audit (the “Audit”) of Buyer’s relevant
                  records using Seller’s chosen Auditor, who shall be a nationally-licensed Certified
                  Public Accountant (CPA).




         7
          Celsius Weekly Reward Rates, https://celsius.network/earn-rewards-on-your-crypto (accessed March 6, 2022).
         Celsius has since revised these reward rates to reflect that they are “up to” the noted percentages above. See Celsius
         Weekly Reward Rates, https://celsius.network/earn (last accessed July 7, 2022).


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                 96.      On September 1, 2021, Kyle Roche, as attorney for Stone and KeyFi, again emailed

         Mr. Hurley demanding that Celsius make the earnout payment, or else commit to paying for an

         accounting and agree to mediation. Celsius refused.

                 97.      After receiving the Audit Demand Letter, Celsius KeyFi refused to provide any

         information, or to comply with the audit provisions of Section 7.1(b)(i) of the APA.

                 98.      Subsequently, KeyFi has repeatedly requested that Defendants engage in an

         accounting to determine how much they are owed and Defendants have repeatedly rejected

         KeyFi’s requests.



            J.         As A Result Of Gross Mismanagement, Celsius Halts Customer Withdrawals

                 99.      On June 12, 2022, Celsius announced that:

                          Due to extreme market conditions, today we are announcing that
                          Celsius is pausing all withdrawals, Swap, and transfers between
                          accounts. We are taking this action today to put Celsius in a better
                          position to honor, over time, its withdrawal obligations.

                 100.     Celsius took this drastic action because it did not (and still does not) have enough

         crypto-assets on hand to balance the obligations it owes to its clients.

                 101.     Just days prior to this announcement, on June 7, 2022, Celsius claimed that it “has

         the reserves (and more than enough ETH) to meet obligations, as dictated by our comprehensive

         liquidity risk management framework.”

                 102.     This turned out to be a lie. This lie was also consistent with the representations

         (described above) Celsius made to Plaintiff concerning its risk management.

                 103.     It is now reported that Goldman Sachs is looking to purchase Celsius’ assets (valued

         at around $11.8 billion in customer deposits as of May 17, 2022) for the fire sale price of $2 billion.

         To be clear, under the Celsius terms of service, Celsius asserts that these assets, which were



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         provided to it by regular consumers, are its property, and not held on behalf of any customer. Thus,

         it is entirely possible that any such asset purchase would wipe-out customer deposits in order to

         pay of Celsius’ own lenders.

                     104.   Plaintiff brings this action now seeking to hold Celsius accountable for its gross

         mismanagement of customer deposits and the breaches of the contractual duties it owes to Plaintiff.

                                                  CAUSES OF ACTION

                                              FIRST CAUSE OF ACTION
                                   Breach of Contract – APA (Against All Defendants)

                     105.   Plaintiff repeats and realleges the allegations contained in all prior paragraphs as if

         set forth fully herein.

                     106.   The APA is a valid and enforceable contract between KeyFi, Celsius, and Celsius

         KeyFi, which by its terms is governed and construed in accordance with the laws of New York.

                     107.   Plaintiff substantially performed its obligations under the terms of the APA

         including giving notice of their claims.

                     108.   Defendants breached the APA by refusing to pay Celsius KeyFi and KeyFi the

         amounts required to be paid under Section 3.1(b) of the APA and the earnout payments required

         to be made under Section 3.1(c) of the APA, Schedule 7.8(b) to the same.

                     109.   By reason of the foregoing, KeyFi suffered damages in an amount to be determined

         at trial.


                                     SECOND CAUSE OF ACTION
          Negligent Misrepresentation Inducing KeyFi to (a) Provide DeFi and Staking Services for
               Celsius Beginning in August 2020 and (b) Enter into the APA (Against Celsius)

                     110.   Plaintiff repeats and realleges the allegations contained in all prior paragraphs as if

         set forth fully herein.




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                     111.   Celsius had a duty to KeyFi, as a result of their “mutual collaboration” based on

         “mutual respect and trust” to give correct information to KeyFi.

                     112.   As alleged hereinabove, to induce KeyFi to provide DeFi and staking services to

         Celsius and to enter into the APA, Celsius made materially misleading statements and omissions,

         calculated to lead Plaintiff to believe that Celsius was a legitimate business with proper security

         and risk controls and truthful disclosures to its customers. Celsius concealed the fact that it lacked

         basic security oversight and controls. Celsius also falsely represented that it had entered into, or

         would enter into, critical hedging transactions. Celsius had no reasonable grounds upon which to

         believe the statements were true when made to Plaintiff.

                     113.   Celsius knew that the information it supplied to KeyFi was desired by KeyFi in

         order to ascertain whether to provide DeFi and staking services to Celsius and to enter into the

         APA.

                     114.   KeyFi reasonably relied upon Celsius’ knowing misrepresentations and omissions

         in agreeing to provide DeFi and staking services to Celsius and to enter into the APA. Had KeyFi

         known that Celsius’ representations were false and fraudulent, KeyFi never would have agreed to

         provide DeFi and staking services to Celsius or to enter into the APA.

                     115.   As a result of the Celsius’ knowingly false and fraudulent misrepresentations and

         KeyFi's reliance thereupon, KeyFi has suffered damages.

                     116.   By reason of the foregoing, KeyFi has been injured in an amount to be determined

         at trial.

                                       THIRD CAUSE OF ACTION
            Fraud in the Inducement, Inducing KeyFi to (a) Provide DeFi and Staking Services for
               Celsius Beginning in August 2020 and (b) Enter into the APA (Against Celsius)

                     117.   Plaintiff repeats and realleges the allegations contained in all prior paragraphs as if

         set forth fully herein.


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                     118.   As alleged hereinabove, to induce Plaintiff to provide DeFi and staking services

         and to enter into the APA, Celsius made materially misleading statements and omissions,

         calculated to lead Plaintiff to believe that Celsius was a legitimate business with proper security

         and truthful disclosures to its customers. Celsius concealed the fact that Celsius lacked basic

         security oversight and controls, and that Celsius failed to keep proper accounts of its customers

         deposits and failed to engage in meaningful diligence regarding the risks they exposed customer

         deposits to. Celsius also falsely represented that it had entered into, or intended to enter into,

         hedging transactions.

                     119.   At the time it made these false representations to Plaintiff, Celsius knew them to be

         false; indeed, Celsius made these false representations to Plaintiff to defraud Plaintiff and lure

         them into providing DeFi and staking services, entering into the APA and transferring valuable

         intellectual property to Celsius KeyFi.

                     120.   Plaintiff reasonably relied upon Celsius’ knowing (mis)representations in agreeing

         to enter into the APA.

                     121.   Had Plaintiff known that Celsius’ representations were false and fraudulent,

         Plaintiff never would have agreed to provide DeFi and staking services or to enter into the APA.

                     122.   As a result of Celsius’ knowingly false and fraudulent misrepresentations and

         Plaintiff’s reliance thereupon, Plaintiff has suffered damages.

                     123.   By reason of the foregoing, KeyFi has been injured in an amount to be determined

         at trial.

                                          FOURTH CAUSE OF ACTION
                                  Breach of Contract – APA (Against Celsius KeyFi)

                     124.   Plaintiff KeyFi repeats and reallege the allegations contained in all prior paragraphs

         as if set forth fully herein.



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                 125.    The APA is a valid and enforceable contract between KeyFi and Celsius KeyFi,

         which by its terms is governed and construed in accordance with the laws of New York.

                 126.    KeyFi substantially performed its obligations under the terms of the APA.

                 127.    KeyFi validly invoked, and KeyFi breached the APA by refusing to perform its

         obligations under, Section 7.1(b)(i) of the APA.

                 128.    By reason of the foregoing, KeyFi suffered damages.

                                        FIFTH CAUSE OF ACTION
                          Accounting (Against Celsius and Celsius KeyFi as Fiduciary)

                 129.    Plaintiff repeats and realleges the allegations contained in all prior paragraphs as if

         set forth fully herein.

                 130.    Celsius and Celsius KeyFi had fiduciary duties of care, loyalty, disclosure, and

         good faith and fair dealing to Plaintiff, as a result of their pattern and practice of working for their

         mutual benefit. Indeed, the MOU reflects that Celsius and KeyFi would operate with “mutual

         collaboration” based on “mutual respect and trust.”

                 131.    As a result of this trust-based relationship between Plaintiff and Defendants,

         Plaintiff is entitled to an accounting with respect to Defendants.

                 132.    Plaintiff has previously demanded such an accounting from Defendants.

                 133.    Defendants have failed to and/or refused to provide such accounting.

                 134.    Plaintiff has no adequate remedy at law. The complexity of the trading strategies

         employed by the parties makes it difficult to determine their respective rights to the trading profits

         at issue in the absence of an accounting.

                 135.    The accounting is applicable to each of the Defendants for each month during the

         period of time that KeyFi provided crypto-asset trading services and/or advice for Defendants.

                                              PRAYER FOR RELIEF



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         WHEREFORE, Plaintiff respectfully prays for relief as follows:

                     a. An accounting for all moneys and crypto-assets received by Defendants related to

                         services and/or advice provided by KeyFi or for KeyFi’s and Defendants’ mutual

                         benefit.

                     b. An award of damages in an amount to be determined at trial.

                     c. An award of punitive damages in an amount to be determined at trial.

                     d. An award of pre- and post- judgment interest.

                     e. Such other and further relief as the Court deems just and proper.

                                               JURY TRIAL DEMAND

                  Plaintiff demand a trial by jury for all claims.
         Dated:          July 7, 2022
                                                                 Respectfully Submitted,

                                                                 ROCHE FREEDMAN LLP

                                                                 /s/ Kyle W. Roche
                                                                 Kyle W. Roche
                                                                 Daniel Stone
                                                                 Peter Bach-y-Rita (pro hac vice pending)
                                                                 99 Park Avenue, 19th Floor
                                                                 New York, NY 10016
                                                                 Telephone: (646) 350-0527
                                                                 Facsimile: (646) 392-8842
                                                                 Email: kyle@rochefreedman.com
                                                                 Email: dstone@rochefreedman.com
                                                                 Email: pbachyrita@rochefreedman.com

                                                                 Devin (Velvel) Freedman
                                                                 1 SE 3rd Ave.
                                                                 Suite 1240
                                                                 Miami, FL 33131
                                                                 Telephone: (305) 306-9211
                                                                 Facsimile: (646) 392-8842
                                                                 Email: vel@rochefreedman.com



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                                                  ASSET PURCHASE AGREEMENT

              THIS ASSET PURCHASE AGREEMENT (this “​Agreement​”) is effective as of December 31,
              2020, by and among (i) ​KEYFI, INC.​, a corporation established and existing under the laws of the
              State of Delaware, with its principal place of business at 99 John St., #1405, New York, NY 10038
              (the “​Seller​”); (ii) ​CELSIUS NETWORK LIMITED​, a private company incorporated under the
              laws of England and Wales, with its principal place of business at 1 Bartholomew Lane, London,
              England, EC2N 2AX (the “​Parent​”); and (iii) ​CELSIUS KEYFI LLC​, a limited liability company
              organized under the laws of Delaware (the “​Buyer​”, and together with the Parent, each is a “​Buyer
              Party​”). The Seller, the Parent, and the Buyer shall be referred to herein individually as a “​Party​”,
              and collectively as the “​Parties​”.

              WHEREAS, the Seller has been engaged in, ​inter alia​, development and provision of a product
              which is a unique, true self-custody implementation leveraging multi-party computation
              purpose-built for interconnectivity between the DeFi and CeFi world (the “​Business​”); and

              WHEREAS,​ the Seller desires to sell, and the Buyer desires to purchase, the Seller Assets; and

              WHEREAS, at or prior to the Closing, each of the Transferring Persons shall have entered into an
              employment or consulting arrangement with the Buyer, together with a confidential information and
              invention assignment agreement, reflecting the terms set forth in ​Section ​7.7(a) below (collectively,
              the “​Key Engagement Agreements​”).

              NOW, THEREFORE, in consideration of the mutual promises and covenants set forth herein and
              in consideration of the representations, warranties herein contained, and the intention to be legally
              bound hereby, the Parties hereby agree as follows:

              1.      DEFINITIONS AND INTERPRETATION

                      1.1       Definitions

                                The following capitalized terms shall have the following meanings for all purposes of
                                this Agreement:

                                “​Affiliates​”          Means, with respect to a Person, any direct or
                                                        indirect subsidiary of such Person and any other
                                                        Person directly or indirectly controlling, controlled
                                                        by, or under common control with such Person.

                                “​Applicable Law​”      Means, with respect to either an individual or a
                                                        corporation, any law existing as of the date hereof
                                                        applicable to such individual or corporation or any
                                                        of their respective properties and assets, officers,
                                                        directors, employees, consultants or agents.

                                “​Assumed               As defined in ​Section ​2.2(a)​.
                                Liabilities​”

                                “​Business​”            As defined in the Recitals to this Agreement.

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                                “​Business Days​”       Means a day on which commercial banks are open
                                                        for business in New York.

                                “​CEL Tokens​”          Means the cryptocurrency token created by the
                                                        Parent.

                                “​Closing​”             As defined in ​Section ​4.1​.

                                “​Encumbrance​”         Means any charge, claim, equitable interest,
                                                        mortgage, lien, pledge, security interest or
                                                        restriction of any kind, or any agreement to create
                                                        any of the foregoing.

                                “​Excluded              As defined in ​Section ​2.2(b)​.
                                Liabilities​”

                                “​Governmental          Means any government or any agency, bureau,
                                Body​”                  board, commission, court, department, official,
                                                        political subdivision, tribunal or other authority or
                                                        instrumentality of any government, whether local,
                                                        domestic or foreign.

                                “​Intellectual          Means, collectively, the rights in, arising out of, or
                                Property​”              associated with, and all registrations, renewals,
                                                        extensions, future equivalents, and restoration
                                                        thereof, now or hereafter in force or effect,
                                                        anywhere in the world, to: (a) patents, utility
                                                        models, and applications therefor, and all reissues,
                                                        divisions,      re-examinations,         provisionals,
                                                        continuations and continuations-in-part thereof, and
                                                        equivalent or similar rights in inventions,
                                                        discoveries, and designs, including invention
                                                        disclosures; (b) all techniques, technology,
                                                        practices trade secrets and other rights in
                                                        know-how and confidential or proprietary
                                                        information; (c) all mask works and copyrights,
                                                        and all other rights corresponding thereto
                                                        (including moral rights) throughout the world; (d)
                                                        all rights in World Wide Web addresses and
                                                        domain names and applications and registrations
                                                        therefore, and contract rights therein; (e) all trade
                                                        names, logos, trademarks and service marks, trade
                                                        dress and all goodwill associated therewith

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                                                           throughout the world; (f) rights of publicity and
                                                           personality; (g) rights of attribution and integrity
                                                           and other moral rights; and (h) any similar,
                                                           corresponding, or equivalent rights to any of the
                                                           foregoing items (a) through (g).

                                “​Key  Engagement          As defined in the Recitals to this Agreement.
                                Agreements​”

                                “​Liability​”              Means any liability, indebtedness or obligation of
                                                           any kind, character or description, whether known
                                                           or unknown, absolute or contingent, accrued or
                                                           unaccrued, disputed or undisputed, liquidated or
                                                           unliquidated, secured or unsecured, joint or several,
                                                           due or to become due, vested or unvested,
                                                           executory, determined, determinable or otherwise,
                                                           and whether or not the same is required to be
                                                           accrued on financial statements ​arising under any
                                                           contract, Applicable Law or action, accounts
                                                           payable, royalties payable, reserves, accrued
                                                           bonuses, accrued vacation, expenses obligations to
                                                           employees and liabilities for Taxes.

                                “​Purchase Price​”         As defined in ​Section ​3.1​.

                                “​Seller Assets​”          As defined in ​Section ​2.1​.

                                “​Seller Contracts​”       As defined in ​Section ​2.1(b)​.

                                “​Seller Intellectual      Means both the Seller Owned Intellectual Property
                                Property​”                 and the Seller Licensed Intellectual Property.

                                “​Seller     Licensed      Means all Intellectual Property owned by third
                                Intellectual               parties and licensed to the Seller relating to the
                                Property​”                 Business.

                                “​Seller        Owned      Means all Intellectual Property owned or purported
                                Intellectual               to be owned by the Seller relating to the Business.
                                Property​”

                                “​Service Agreement​”      As defined in ​Section ​7.8(a)​.

                                “​Service Agreement        As defined in ​Section ​7.8(b)​.
                                Key Terms​”
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                                “​Source Code​”              Means the human-readable source code for any
                                                             software that is part of the Seller Intellectual
                                                             Property as well as any confidential or proprietary
                                                             information relating to any software source code or
                                                             any of the Seller Owned Intellectual Property.

                                “​Taxes​”                    Means any and all taxes, charges, duties, fees,
                                                             levies,     imposts       or    other     assessments,
                                                             reassessments, or mandatory payments of any kind
                                                             whatsoever, whether direct or indirect, imposed by
                                                             or payable to or accrued to the benefit of any
                                                             federal, state, local or foreign taxing authority.

                                “​Transfer Taxes​”           As defined in ​Section ​3.2​.

                                “​Transferring               As defined in ​Section ​7.7(a)​.
                                Persons​”

                                “​Valid Withholding          Means a valid certificate, ruling or any other
                                Certificate​”                written instructions regarding withholding of
                                                             Taxes, issued by a taxing authority, in form and
                                                             substance reasonably satisfactory to the Buyer
                                                             applicable to the Purchase Price to be paid pursuant
                                                             to this Agreement.

              2.      ACQUISITION OF ASSETS

                      2.1       Sale and Acquisition of the Seller Assets

                                      Subject to the terms and conditions of this Agreement, at the Closing, the Seller shall
                                                  sell, convey, transfer, assign and deliver to the Buyer, and the Buyer
                                                  shall purchase, acquire and accept from the Seller, the Seller’s right, title
                                                  and interest in and to all assets related to the Business, free and clear of
                                                  any and all Encumbrances, including, without limitation, the following
                                                  assets (collectively, the “​Seller Assets​”):

                                (a)     All Seller Intellectual Property, including, without limitation:

                                        (i)    the assets set forth in ​Schedule ​2.1(a)​;

                                        (ii)   all Intellectual Property developed and owned by Seller for the Business,
                                               including all source and object codes, binaries, supplements, modifications,
                                               updates and enhancements to past and present versions, shipping versions
                                               and versions under development by Seller for any products and technologies
                                               developed by or for, or marketed by, Seller;



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                                      (iii) any and all design and code documentation, methodologies, processes, trade
                                            secrets, design information, product information, algorithms, engineering
                                            specifications, technical manuals and data, inventions, know-how,
                                            programmer’s notes and other works of authorship, which are related to,
                                            used in or derived from any products or services developed by or for, or
                                            marketed by, the Business; and

                                      (iv) all Intellectual Property that is owned or used by the Seller or any of its
                                           Affiliates in the operation of, or related to, or derived from the Business or
                                           its products, services and assets.

                                (b)   All rights in and to the contracts set forth in ​Schedule ​2.1(b) (the “​Seller
                                      Contracts​”).

                                (c)   All tangible assets and equipment related to the Business, including the tangible
                                      assets and equipment set forth in ​Schedule ​2.1(c)​.

                                (d)   All rights in and to: (i) files and information (including all data and other
                                      information stored on any media) relating to the Seller Intellectual Property and
                                      the Seller Contracts and the customers of the Business, including the personal
                                      identification details of such customers; and (ii) any databases owned or managed
                                      by the Seller solely in connection with the Business.

                                (e)   All rights, causes of action and damages receivable with respect to: (i) any Seller
                                      Assets; and (ii) non-competition and confidentiality agreements which were in
                                      effect at any time prior to the execution of this Agreement; in each case, whether
                                      or not due or payable at any time, under the laws of any and all jurisdictions,
                                      including all claims for damages by reason of past, present or future infringement,
                                      misappropriation or other unauthorized use of any Seller Asset, and including,
                                      regardless of whether or not any claim or cause of action has been asserted by the
                                      Seller, the right to sue and collect the same, indemnity rights, warranty rights,
                                      rights of contribution, rights to refunds, rights of reimbursement and other rights
                                      of recovery possessed by the Seller, regardless of whether any such rights are
                                      currently exercisable.

                      2.2       Liabilities

                                (a)   On the terms and subject to the conditions set forth in this Agreement, at the
                                      Closing, the Seller will assign to the Buyer, and the Buyer will assume and be
                                      responsible solely for, any Liability related to the Seller Assets that accrue as of
                                      and subsequent to the Closing, and do not arise from any breach committed by the
                                      Seller or on its behalf on or prior to the Closing (the “​Assumed Liabilities​”).

                                (b)   The Seller will retain and the Buyer will neither assume nor be responsible for
                                      (nor be deemed to have assumed or be responsible for) every other Liability of the
                                      Seller or related to the Business of any nature (whether express or implied, fixed
                                      or contingent, liquidated or unliquidated, known or unknown, accrued or due or to
                                      become due), which shall not constitute an Assumed Liability, including, without
                                      limitation, any Liability: (i) unrelated to the Seller Assets; (ii) constituting a right
                                      or benefit towards the Transferring Persons or on their behalf in respect of their
                                      employment or engagement with the Seller; (iii) for any Taxes arising from the
                                      operation of the Business or ownership of or rights in the Seller Assets; (iv)
                                      arising out of any claim against Seller or the Business or otherwise pertaining to

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                                      the Transferring Persons or the Seller Assets pending as of the Closing; (v) arising
                                      out of any claim commenced after the Closing to the extent that any such claim
                                      arises from any act, event or omission occurring prior to the Closing; or (vi) any
                                      other Liability which the Seller owes to any third party (collectively, the
                                      “​Excluded Liabilities​”).

              3.      PURCHASE PRICE AND PAYMENT

                      3.1       Purchase Price

                                As the sole and exclusive consideration for the Seller’s commitments under this
                                Agreement, the Buyer shall:

                                (a)   pay to the Seller at Closing, in immediately available funds by wire transfer (to a
                                      bank account specified by the Seller), a total of sixty-five thousand Dollars (USD
                                      65,000), inclusive of any value-added tax, to the extent applicable;

                                (b)   Subject to Applicable Laws and regulations:

                                      (i)    at the Closing, deliver to the Seller 175,000 CEL Tokens;

                                      (ii)   on the date which is six (6) months after the Closing, deliver to the Seller
                                             87,500 CEL Tokens;

                                      (iii) on the first (1​st​) anniversary of the Closing, deliver to the Seller 87,500 CEL
                                            Tokens; and

                                (c)   pay, or caused to be paid, to the Seller in immediately available funds by wire
                                      transfer (to a bank account specified by the Seller), any Earnout Payment (as
                                      defined in the Service Agreement Key Terms) in accordance with the terms of the
                                      Service Agreement, within five (5) Business Days of the actual receipt of the
                                      Earnout Payment in accordance with this Agreement and the Service Agreement
                                      (​​(a)​, ​(b)​, ​ and ​(c)​ collectively, the “​Purchase Price​”).

                      3.2       Taxes

                                (a)   Any payments made by the Buyer to the Seller under this Agreement shall be paid
                                      less any Taxes to be withheld to the extent applicable under ​Section ​3.3​, and
                                      against an issuance of a valid tax invoice, as detailed in ​Section ​4.2(a)(vi)(C)​.

                                (b)   The Seller shall be liable for any and all transfer, sales, documentary, stamp,
                                      registration and other similar Taxes incurred in connection with this Agreement
                                      (including any real property transfer tax, value-added tax and any other similar
                                      Taxes) (collectively, “​Transfer Taxes​”), and the Seller shall pay all such Taxes
                                      when due. The Seller shall, at its own cost and expense, timely file any tax return
                                      or other document with respect to any Transfer Taxes, and the Buyer shall use
                                      commercially reasonable efforts to cooperate with respect thereto as necessary.

                      3.3       Withholding Rights

                                The Buyer shall be entitled to deduct and withhold from any payment or consideration
                                contemplated by this Agreement all Taxes that are required to be deducted and withheld
                                with respect to such payment or other consideration under Applicable Law, unless the
                                Seller has provided the Buyer with a Valid Withholding Certificate at least five (5)
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                                Business Days prior to date hereof, in which event the deduction and withholding of
                                any such amount shall be made in accordance with the provisions of such Valid
                                Withholding Certificate. Taxes withheld pursuant to this ​Section ​3.3 by the Buyer will
                                be: (a) remitted by the Buyer to the relevant taxing authority; and (b) treated for all
                                purposes of this Agreement as having been paid to the Seller.

              4.      CLOSING

                      4.1       Closing

                                Subject to the terms and conditions of this Agreement, the closing of the transaction
                                contemplated herein (the “​Closing​”) shall take place by electronic exchange of executed
                                documents within two (2) Business Days from the date of the satisfaction of the Closing
                                conditions set forth herein, or at such other date that is mutually agreed by the Parties.

                      4.2       Actions at Closing

                                At Closing, the following actions will take place, all of which shall be deemed to have
                                occurred simultaneously and no action shall be deemed to have been completed and no
                                document or certificate shall be deemed to have been delivered, until all actions are
                                completed and all documents and certificates delivered as detailed in this Agreement:

                                (a)   The obligations of the Buyer hereunder to proceed with the Closing are subject to
                                      the satisfaction at or prior to the Closing of each of the following conditions,
                                      unless otherwise waived in writing by the Buyer:

                                      (i)    The representations and warranties of the Seller contained in this Agreement
                                             shall be true and correct as of the Closing.

                                      (ii)   The Seller shall have duly performed or complied with all of the covenants,
                                             acts and obligations to be performed or complied with by the Seller
                                             hereunder in all material respects.

                                      (iii) The Buyer shall have received copies of all consents and approvals required
                                            to be obtained from third parties for the purposes of the transactions
                                            contemplated under this Agreement.

                                      (iv) No proceeding challenging this Agreement or the transactions contemplated
                                           hereby or seeking to prohibit, alter, prevent or materially delay the Closing
                                           shall be pending, and no judgment, injunction, order or decree, shall have
                                           been issued by any court, arbitrator or Governmental Body preventing or
                                           delaying the Closing.

                                      (v)    Each Transferring Person shall have executed his respective Key
                                             Engagement Agreement with the Buyer.

                                      (vi) The Seller shall have delivered (or caused to be delivered) to the Buyer: (A)
                                           any assignment documents required in order to assign any of the Seller
                                           Assets; (B) a certificate of a director of the Seller, attaching copies of all
                                           corporate resolutions duly adopted by the Seller’s board of directors and
                                           stockholders (as applicable) authorizing the execution, delivery and
                                           performance of this Agreement and certifying that such resolutions are in
                                           full force and effect; (C) a valid tax invoice issued by the Seller to the Buyer

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                                             covering the Purchase Price payable; and (D) any media containing the
                                             Seller Assets; in each case, in the form reasonably acceptable to the Buyer.

                                (b)   The obligations of the Seller hereunder to proceed with the Closing are subject to
                                      the satisfaction at or prior to the Closing of each of the following conditions,
                                      unless otherwise waived in writing by the Seller:

                                      (i)    The representations and warranties of the Buyer contained in this
                                             Agreement shall be true and correct as of the Closing.

                                      (ii)   The Buyer shall have duly performed or complied with all of the covenants,
                                             acts and obligations to be performed or complied with by the Buyer
                                             hereunder in all material respects.

                                      (iii) The Buyer shall have executed each Key Engagement Agreement.

                                      (iv) The Purchase Price shall have been paid in accordance with ​Section ​3​.

                                (a)   The obligations of all Parties hereunder to proceed with the Closing are subject to
                                      the entering into the Services Agreement by the Buyer and the Parent.

              5.      REPRESENTATIONS AND WARRANTIES OF THE SELLER

                                The Seller hereby represents and warrants to each Buyer Party, and acknowledges that
                                each Buyer Party is entering into this Agreement in reliance thereon, that the
                                representations set forth in this ​Section ​5 are true and complete as of immediately prior
                                to the Closing.

                      5.1       Organization and Existence

                                The Seller is a private company duly organized and validly existing under the laws of
                                the State of Delaware, and has all requisite corporate power and authority to own, lease
                                and operate its properties and assets, and to carry on its businesses as now being
                                conducted. The Seller is duly qualified to do business in any jurisdiction in which it
                                conducts or operates its business (to the extent such qualification is necessary in such
                                jurisdiction).

                      5.2       Authority and Enforceability

                                (a)   The Seller has all necessary corporate power and authority to execute and deliver
                                      this Agreement and all other transactions and agreements contemplated herein to
                                      which the Seller is a party, and to perform its obligations hereunder and
                                      thereunder.

                                (b)   The execution, delivery and performance of this Agreement and all other
                                      agreements contemplated hereby to which Seller is a party have been duly and
                                      validly authorized by all necessary corporate action on the part of the Seller. No
                                      other corporate proceedings on the part of the Seller are necessary to authorize
                                      this Agreement and all other agreements contemplated hereby.

                                (c)   This Agreement and all other transactions and agreements contemplated herein to
                                      which the Seller is a party are duly and validly executed and delivered by the
                                      Seller and, assuming the due authorization, execution and delivery of each Buyer


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                                      Party, constitute the valid, legal and binding obligations of the Seller, enforceable
                                      against the Seller in accordance with their respective terms.

                      5.3       No Conflicts and No Required Consents

                                (a)   The execution, delivery and performance by the Seller of this Agreement and all
                                      other agreements contemplated hereby to which Seller is a party, do not: (i)
                                      conflict with or violate the articles of association, certificate of incorporation or
                                      other equivalent organizational documents of the Seller; (ii) conflict with or
                                      violate any Applicable Law; or (iii) result in any breach of any contract to which
                                      the Seller is a party, including any Seller Contract.

                                (b)   The execution, delivery and performance by the Seller of this Agreement and all
                                      other transactions and agreements contemplated herein to which the Seller is a
                                      party, do not, and the performance of this Agreement and all other agreements
                                      contemplated hereby by the Seller will not, require any: (i) consent, approval,
                                      authorization, clearance, or permit of, or filing or registration with, or notification
                                      to, any Governmental Body or otherwise, for such performance or in order to
                                      prevent the termination of any right, privilege, license or qualification of the
                                      Seller; or (ii) consent of any third party under a Seller Contract.

                      5.4       Taxes

                                (a)   All Taxes that relate to the activity which utilized or otherwise involved the Seller
                                      Assets required to be paid on or prior to the date hereof have been fully and timely
                                      paid, and the Seller has no liability for such Taxes with respect to such period in
                                      excess of the amount so paid.

                                (b)   There is no pending dispute with any taxing authority in relation to the Seller
                                      Assets or any activity which utilized or otherwise involved the Seller Assets, nor
                                      are there any proceedings, investigations, audits or claims now pending or
                                      threatened against the Seller in respect of any Taxes. The Seller is not aware of
                                      any circumstances in connection with the transactions contemplated herein which
                                      will give rise to any dispute with any relevant taxing authority in relation to the
                                      Seller Assets.

                      5.5       Seller Assets

                                (a)   The Seller has good and valid title to, is the exclusive legal and equitable owner
                                      of, and has the unrestricted power and right to sell, assign and deliver the Seller
                                      Assets. The Seller Assets are free and clear of all Encumbrances of any kind or
                                      nature. Upon the Closing, the Buyer will acquire exclusive, good and valid title to
                                      the Seller Assets, and, immediately following the Closing have been recorded,
                                      free and clear of all Encumbrances.

                                (b)   All the Seller Assets are in a condition and suitable for the Buyer to use in
                                      substantially the manner in which the Seller has used such Seller Assets prior to
                                      the date hereof. No licenses or consents from, or payments to, any other Person
                                      are necessary for the Buyer to use any of the Seller Assets in substantially the
                                      manner in which the Seller has used such Seller Assets prior to the date hereof.
                                      No restrictions will exist on the Buyer’s rights to sell, resell, license, or sublicense
                                      any of the Seller Assets as a consequence of the transactions contemplated herein,


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                                      other than any such restrictions resulting solely as a result of the Buyer or its
                                      Affiliates.

                                (c)   The Seller Intellectual Property set forth in ​Schedule ​2.1(a) includes all Seller
                                      Owned Intellectual Property that is subject to issuances and registrations, and all
                                      such registrations are valid, enforceable, subsisting, in full force and effect, and
                                      unchallenged by any third party.

                                (d)   Other than the Seller Contracts, there is no contract to which the Seller is a party
                                      pursuant to which any other Person is granted any license, authorization, covenant
                                      not-to-sue, release, immunity or other rights with respect to any Seller Intellectual
                                      Property.

                                (e)   The Seller exclusively owns, possesses, controls and has good and marketable title
                                      to all Seller Owned Intellectual Property, without Encumbrances and any payment
                                      obligations, and the Seller possesses adequate rights in Seller Licensed Intellectual
                                      Property material to the current operation of the Business, without Encumbrances
                                      and any payment obligations, other than payment obligations relating to the time
                                      period after the Closing.

                                (f)   Neither: (i) the exercise of rights in Seller Owned Intellectual Property; (ii) the
                                      operation of the Business; nor (iii) the exploitation of the Seller Owned
                                      Intellectual Property; infringes or misappropriates any rights to Intellectual
                                      Property of any Person, or constitutes unfair competition or unfair trade practice
                                      under the laws of the applicable jurisdiction. The Seller has not instituted, asserted
                                      or threatened any action against any third Person with respect to the infringement,
                                      misappropriation, use or disclosure without authorization, or other violation of,
                                      any Seller Owned Intellectual Property and no third Person is infringing,
                                      misappropriating, using or disclosing without authorization any Seller Owned
                                      Intellectual Property.

                                (g)   No Person: (i) has received copies of, or been granted access to, any Source Code,
                                      other than employees and consultants engaged in development activities for Seller
                                      in the ordinary course of business who are subject to confidentiality and
                                      assignment of inventions provisions; and (ii) possesses any current or contingent
                                      rights of any kind granted by the Seller to any Source Code. The Seller has not
                                      entered into any escrow arrangement (or any contract that contemplates any
                                      escrow arrangement) with respect to any such Source Code.

                                (h)   The Seller is and has been in compliance in all material respects with all
                                      Applicable Laws and contractual obligations governing the collection,
                                      interception, storage, receipt, purchase, sale, transfer, processing, retention, and
                                      use of all data or information constituting the personal information of any natural
                                      person, including employees of the Seller, that has been collected or otherwise
                                      obtained by the Seller. No Seller Assets include any data or information
                                      constituting the personal information of any natural Person, including employees,
                                      that has been collected or otherwise obtained by the Seller.

                                (i)   No funding, facilities or personnel of any Governmental Body, university, college,
                                      or other educational institution or research center were used to develop or create,
                                      in whole or in part, any Seller Owned Intellectual Property.



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                                (j)   None of the Seller Intellectual Property: (i) contains any “back door”, “drop dead
                                      device”, “time bomb”, “Trojan horse”, “virus” or “worm” (as such terms are
                                      commonly understood in the information technology industry) or any other code
                                      or circuit designed or intended to have, or capable of performing, any: (A)
                                      disrupting, disabling, harming, or otherwise impeding in any manner the operation
                                      of, or providing unauthorized access to, a computer system or network or other
                                      device on which such code is stored or installed, or on which such circuit is
                                      implemented; (B) damaging or destroying any data or file without the user’s
                                      consent; or (C) otherwise interfering with the operation of such software; (ii)
                                      contains any bug, defect, or error (including any bug, defect, or error relating to or
                                      resulting from the display, manipulation, processing, storage, transmission, or use
                                      of date data) that materially and adversely affects the use, functionality, or
                                      performance of such software, or any product or system containing or used in
                                      conjunction with such software; or (iii) fails in any material respect to comply
                                      with any applicable warranty or other contractual commitment relating to the use,
                                      functionality, or performance of such software.

                      5.6       Insider Interests

                                No shareholder, director, officer, employee or consultant of the Seller has any interest in
                                any Seller Asset. Neither the Seller nor any of its shareholders, directors, officers,
                                employees, consultants or Affiliates have any interest, either directly or indirectly, in
                                any Person (whether as an employee, officer, manager, partner, agent, independent
                                contractor, security holder, creditor, consultant or otherwise) that: (a) engages in any
                                activity that competes with the Business as conducted by the Seller; or (b) is a supplier,
                                customer or creditor of the Seller.

                      5.7       Claims and Orders

                                (a)   The Seller has not received notice of any written claim which is pending, nor are
                                      there any such claims threatened, against the Seller before any Governmental
                                      Body concerning the Business or the Seller Assets, and there are no pending
                                      disagreements or disputes that are reasonably likely to lead to the assertion of any
                                      such claims.

                                (b)   There are no outstanding or unsatisfied judgments, orders, decrees or stipulations
                                      to which the Seller is a party or by which the Seller Assets are bound.

                      5.8       Compliance with Laws

                                (a)   The Seller has at all times been in material compliance with Applicable Law
                                      related to the ownership of the Seller Assets and the conduct of the Business.

                                (b)   No event has occurred or circumstance exists that (with or without notice or lapse
                                      of time) would: (i) reasonably constitute or result in a violation by the Seller, or a
                                      failure on the part of the Seller to comply with any Applicable Law related to the
                                      ownership of the Seller Assets; or (ii) would give rise to any obligation on the part
                                      of the Seller to undertake, or to bear all or any portion of the cost of, any remedial
                                      action related to the Seller’s conduct of the Business or the ownership of the
                                      Seller Assets as at the Closing Date.




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                      5.9       Labor and Employment Matters

                                (a)   All of the Seller’s former and current employees have an executed agreement of
                                      confidentiality, non-competition, non-solicitation, and assignment of inventions
                                      undertaking, which includes: (i) valid assignments to the Seller of all right, title
                                      and interest that such Persons may have or hereafter acquire in any Seller Owned
                                      Intellectual Property created, developed or discovered by them during the course
                                      of their engagement by the Seller; (ii) valid and enforceable waivers of any and all
                                      moral rights that any such Persons may have in any copyright or work of
                                      authorship forming part of the Seller Owned Intellectual Property created by them
                                      during the course of their employment or engagement by the Seller; and (iii) an
                                      express waiver of any rights to receive compensation in connection with
                                      inventions created or discovered by them during the course of their engagement
                                      by the Seller.

                                (b)   There are no disputes pending or threatened between the Seller and any of its
                                      current or former employees, or current or former independent service contractors,
                                      or any trade or labor union, works council or similar body, which disputes have
                                      resulted in, or could reasonably be expected to result in, a claim before any
                                      Governmental Body, court, or tribunal.

                                (c)   To Seller’s knowledge, no Transferring Person is or has, in the past, been in
                                      violation of any term of her or his engagement with the Seller, non-competition,
                                      confidentiality, intellectual property agreement, or any restrictive covenant with a
                                      former employer relating to the right of any such Transferring Person to be
                                      engaged by the Seller because of the nature of the business conducted by the
                                      Seller, work performed by the Transferring Person, or use of trade secrets or
                                      proprietary information of others.

                                (d)   Since the incorporation of the Seller (or any predecessor entities, if applicable),
                                      the Seller is and has been in compliance with all Applicable Laws with respect to
                                      employment, employment practices, worker classification, Taxes, prohibited
                                      discrimination, equal employment, fair employment practices, immigration status,
                                      and any other terms and conditions of employment.

                      5.10 Solvency

                                (a)   The Seller is solvent (as defined and interpreted under Applicable law) and
                                      immediately after giving effect to the Closing, the Seller will be solvent.

                                (b)   No Order has been made or petition presented, or resolution passed for the
                                      winding-up or liquidation of the Seller or any of its subsidiaries, and there is no
                                      outstanding: (i) petition or order for the winding-up or administration of the Seller
                                      or any of its subsidiaries; (ii) any appointment of a receiver over the whole or part
                                      of the assets of the Seller or any of its subsidiaries; (iii) any assignment by the
                                      Seller or any of its subsidiaries for the benefit of its creditors; (iv) any distress or
                                      execution or other process levied in respect of the Seller or any of its subsidiaries
                                      which remains undischarged; or (v) any unfulfilled or unsatisfied order against the
                                      Seller or any of its subsidiaries.

                                (c)   Neither Seller nor any of its subsidiaries have been deemed unable to pay their
                                      debts within the meaning of Applicable Law.


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                                (d)   There are no current or past creditors of the Seller or any of its subsidiaries to
                                      whom any Applicable Law requires the delivery of notice or from whom any form
                                      of consent is required in conjunction with this Agreement or any other transaction
                                      or agreement contemplated hereunder to which Seller or any of its subsidiaries is a
                                      party.

                      5.11 Broker or Finders

                                The Seller does not have, nor will it have, directly or indirectly, any Liability for
                                brokerage or finders’ fees or any similar charges in connection with this Agreement or
                                any transaction contemplated hereby.

                      5.12 Full Disclosure

                                Neither this Agreement nor any certificates made or delivered by the Seller in
                                connection herewith contains any untrue statement of a material fact or omits to state a
                                material fact necessary to make the statements herein or therein not misleading, in view
                                of the circumstances in which they were made.

              6.      REPRESENTATIONS AND WARRANTIES OF BUYER

                                Each Buyer Party, severally and not jointly, hereby represents and warrants to the
                                Seller, and acknowledges that the Seller is entering into this Agreement in reliance
                                thereon, that the representations set forth in this ​Section ​6 shall be true and complete as
                                of immediately prior to the Closing.

                      6.1       Organization and Existence

                                Such Buyer Party is a company duly organized and validly existing under the laws of
                                the jurisdiction of its incorporation or organization, and has all requisite corporate
                                power and authority to own, lease and operate its properties and assets, and to carry on
                                its businesses as now being conducted. Such Buyer Party is duly qualified to do
                                business in any jurisdiction in which it conducts or operates its business (to the extent
                                such qualification is necessary in such jurisdiction).

                      6.2       Authority and Enforceability

                                (a)   Such Buyer Party has all necessary corporate power and authority to execute and
                                      deliver this Agreement and all other agreements contemplated hereby to which
                                      such Buyer Party is a party, and to perform its obligations hereunder and
                                      thereunder.

                                (b)   The execution, delivery and performance of this Agreement and all other
                                      agreements contemplated hereby to which such Buyer Party is a party have been
                                      duly and validly authorized by all necessary corporate action on the part of such
                                      Buyer Party. No other corporate proceedings on the part of such Buyer Party are
                                      necessary to authorize this Agreement and all other agreements contemplated
                                      hereby.

                                (c)   This Agreement and all other agreements contemplated hereby to which such
                                      Buyer Party is a party are duly and validly executed and delivered by such Buyer
                                      Party and, assuming the due authorization, execution and delivery of the Seller
                                      and any other parties thereto, constitute the valid, legal and binding obligations of

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                                      the such Buyer Party, enforceable against such Buyer Party in accordance with
                                      their respective terms.

                      6.3       No Conflicts and No Required Consents

                                (a)   The execution, delivery and performance by such Buyer Party of this Agreement
                                      and all other agreements contemplated hereby to which such Buyer Party is a
                                      party, do not: (i) conflict with or violate the articles of association, certificate of
                                      incorporation or other equivalent organizational documents of such Buyer Party;
                                      (ii) conflict with or violate any Applicable Law; or (iii) result in any breach of any
                                      contract to which such Buyer Party is a party.

                                (b)   The execution, delivery and performance by such Buyer Party of this Agreement
                                      and all other agreements contemplated hereby to which such Buyer Party is a
                                      party, do not, and the performance of this Agreement and all other agreements
                                      contemplated hereby by such Buyer Party will not, require any consent, approval,
                                      authorization, clearance, or permit of, or filing or registration with, or notification
                                      to, any Governmental Body or otherwise, for such performance or in order to
                                      prevent the termination of any right, privilege, license or qualification of such
                                      Buyer Party.

                      6.4       Broker or Finders

                                Such Buyer Party does not have, nor will it have, directly or indirectly, any Liability for
                                brokerage or finders’ fees or any similar charges in connection with this Agreement or
                                any transaction contemplated hereby.

              7.      COVENANTS

                      7.1       Confidentiality

                                (a)   The Seller shall not, and shall cause its representatives not to, directly or
                                      indirectly, disclose, reveal, divulge or communicate to any person any confidential
                                      information with respect to the Seller Assets, other than information that: (i) is in
                                      the public domain at the time of the Closing or at the time of disclosure by a
                                      Buyer Party, or subsequently becomes so through no fault of the Seller; (ii) is
                                      furnished to the Seller or its respective representatives by a third party having a
                                      lawful right to do so; or (iii) was explicitly approved for release by written
                                      authorization of each Buyer Party (collectively, the “​Confidential Information​”).

                                (b)   The Seller and its representatives shall be permitted to disclose Confidential
                                      Information if such disclosure is in response to a valid order of a Governmental
                                      Body, but only to the extent of and for the purposes of such order; ​provided​,
                                      however, that such representative shall first notify each Buyer Party in writing of
                                      the order, and permit each Buyer Party to seek an appropriate protective order.

                      7.2       Additional Assets

                                If following the Closing, any asset that was owned by the Seller or any of its Affiliates
                                as of the Closing (including any unfiled patent applications and any inventions
                                conceived by any employees or consultants of the Seller before Closing whether or not
                                reduced to practice or writing) is discovered that is considered to be or otherwise
                                required for the operation of the Seller Assets, and which was not disclosed or
                                otherwise not transferred to the Buyer on or prior to the Closing, then such asset will be
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                                transferred by the Seller to the Buyer promptly upon such discovery, for no additional
                                consideration, and will be deemed to form part of the Seller Assets for all purposes. The
                                Seller agrees to assign and does hereby assign to the Buyer all rights, title and interests
                                in and to any such assets, including any Intellectual Property Rights relating thereto.

                      7.3       Further Assurances

                                Following ​Closing, the Seller shall execute and deliver such other documents, and take
                                such other action, as the requesting party may reasonably request to consummate more
                                effectively the transactions contemplated by this Agreement, including executing and
                                delivering any assignment agreements or other documents reasonably necessary to
                                transfer all registered Seller Owned Intellectual Property Assets to the Buyer in all
                                applicable intellectual property offices.

                      7.4       Post-Closing Information Cooperation

                                (a)   Subject to compliance with obligations under Applicable Law, following the
                                      Closing, the Seller will afford to the Buyer and its designated representatives,
                                      reasonable access (including the ability to make copies in electronic or paper
                                      format) during normal business hours non-privileged records within the
                                      possession or control of the Seller relating to the Seller Assets prior to the
                                      Closing, including insofar as such access is reasonably required by the Buyer,
                                      records reasonably necessary for: (i) financial reporting, Taxes and accounting
                                      matters (including for purposes of the filing of any Taxes or information return,
                                      the preparation for any audit by any taxing authority, and the response to any
                                      inquiry by a taxing authority, the mailing or filing of any notice); and (ii) defense
                                      or prosecution of any claim, actual or potential.

                                (b)   Subject to compliance with obligations under Applicable Law, following the
                                      Closing, the Buyer will afford to the Seller and its designated representatives,
                                      reasonable access (including the ability to make copies in electronic or paper
                                      format) during normal business hours records within the possession or control of
                                      the Buyer (including, for this term, Parent, as applicable) relating to the
                                      continuing Purchase Price obligations, including, but not limited to, the
                                      obligations of Section 7.8 and Schedule 7.8(b) hereto, and including, insofar as
                                      such access is reasonably required by the Buyer, records reasonably necessary for:
                                      (i) reckoning and verifying Buyer’s obligations hereunder, (ii) financial reporting,
                                      Taxes and accounting matters (including for purposes of the filing of any Taxes or
                                      information return, the preparation for any audit by any taxing authority, and the
                                      response to any inquiry by a taxing authority, the mailing or filing of any notice);
                                      and (iii) defense or prosecution of any claim, actual or potential. The review,
                                      copying and/or disclosure of any Buyer information by Seller under this term shall
                                      be subject to a confidentiality obligation on same terms as Section 7.1 hereof.
                                      The audit procedure shall be as follows:

                                      (i)   Within the later to occur of fourteen (14) calendar days after any payment
                                            by Buyer due under this Agreement (the “Obligation”), or thirty (30)
                                            calendar days after any such scheduled payment accrued, if Seller is
                                            dissatisfied with the payment, or if non-payment occurs, Seller may invoke
                                            an audit (the “Audit”) of Buyer’s relevant records using Seller’s chosen
                                            Auditor, who shall be a nationally-licensed Certified Public Accountant
                                            (CPA).

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                                      (ii)   If Seller disputes the results of Auditor, Seller may choose a Second
                                             Auditor, who must also be a licensed CPA, to independently produce a
                                             Second Audit. Otherwise, the Audit shall be the Final Audit.

                                      (iii) If the Second Audit differs from the Audit by more than .5%, the auditors
                                            will in good faith attempt to reconcile the difference. If the difference is
                                            reconciled, the reconciliation shall be the Final Audit. If the difference was
                                            .5% or less, the midpoint of the Audit and Second Audit shall be deemed the
                                            Final Audit.

                                      (iv) If a greater-than-.5% difference cannot be reconciled, the parties may
                                           choose to either (a) accept the midpoint of the Audit and Second Audit as
                                           the Final Audit amount, or (b) appeal to the American Arbitration
                                           Association (AAA) for a Third Auditor, whose audit shall be the Final Audit
                                           and shall be conclusive and binding on the parties.

                                      (v)    If the Final Audit differs from the initial payment by 5% or more, the cost of
                                             all audits shall be borne by the party bearing the burden of the adjustment.
                                             If the Obligation was not paid during the period set forth above, the Buyer
                                             shall bear the cost of all audits. If the Final Audit produces an adjustment
                                             between .5% and 5%, the parties shall bear the respective costs of their own
                                             auditors, but the party bearing the burden of the adjustment shall pay for the
                                             Third Auditor (if any). If the Final Audit produces an adjustment of .5% or
                                             less, the parties shall bear the costs of their own appointed auditors, and split
                                             the cost of the Third Auditor auditor (if any).

                      7.5       Satisfaction of Liabilities

                                The Seller agrees that, following the Closing, it shall not pay or distribute any portion of
                                the Purchase Price to the Seller’s security holders in their capacity as such unless and
                                until it has provided the Buyer with evidence demonstrating that all Liabilities of the
                                Seller and each of its Affiliates in connection with the Seller Assets and the
                                Transferring Persons until the Closing have been repaid, released, discharged or
                                satisfied in full, including an executed waiver and release letter from each Transferring
                                Person in the form reasonably acceptable to the Buyer referring to their engagement
                                period with the Seller and its termination and the waiver of any outstanding entitlement
                                arising in connection therewith.

                      7.6       Non-Compete

                                In furtherance of the sale of the Seller Assets to the Buyer hereunder by virtue of the
                                transactions contemplated hereby and more effectively to protect the value and goodwill
                                of the Seller Assets so sold, the Seller covenants and agrees that, for a period from and
                                after the Closing and until the first (1​st​) anniversary of the Closing, neither the Seller nor
                                any of its Affiliates or anyone on their behalf will:

                                (a)   directly or indirectly (whether as principal, agent, employee, consultant,
                                      independent contractor, partner or otherwise) own, manage, operate, control,
                                      participate in, or otherwise carry on, personal trading activities or a business
                                      similar to or competitive with the Business anywhere in the world (it being
                                      understood by the parties hereto that the Business is not limited to any particular
                                      region of the world and that such Business may be engaged effectively from any
                                      location in the world);

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                                (b)   induce or attempt to persuade any agent, supplier of a Buyer Party or any of their
                                      Affiliates who was an agent or supplier of the Seller or its Affiliates, as of the
                                      Closing to terminate such agency or business relationship with a Buyer Party or
                                      any of their Affiliates in order to enter into any such relationship on behalf of any
                                      other business organization; or

                                (c)   encourage, induce, attempt to induce, solicit or attempt to solicit any individual
                                      who is an employee or contractor of a Buyer Party on the date of this Agreement,
                                      or any Transferring Person, to leave his, her or its employment or engagement
                                      with a Buyer Party or their Affiliates.

                      7.7       Key Engagement Agreements

                                (a)   On or prior to the Closing and subject to Closing, the Buyer shall have made
                                      offers of engagement to each employee or contractor of the Seller listed in
                                      Schedule ​7.7(a) (the “​Transferring Persons​”), with payments the aggregate to
                                      be paid by such entity or entities to all Transferring Persons in consideration for
                                      their employment or services (as applicable) to be in accordance with the
                                      breakdown set forth in ​Schedule ​7.7(a)​. All taxes payable on any payments to the
                                      Transferring Persons as contemplated hereunder shall be made subject to any
                                      taxes to be paid or withheld, as shall be set forth in each agreement with such
                                      Transferring Person.

                                (b)   The Seller shall cooperate with the Buyer, by providing all information reasonably
                                      requested by the Buyer in respect of the Transferring Persons, including the
                                      personnel records of the Transferring Persons as is reasonably necessary for the
                                      Buyer to transition such persons into the Buyer’s records, and the Seller shall have
                                      obtained all necessary consents to make available such personnel records, subject
                                      to any restrictions, procedures, and required consents under the Applicable Law
                                      and contracts.

                                (c)   Nothing in this ​Section ​7.7 shall obligate the Buyer to offer engagement with any
                                      Transferring Person for a minimal period of time.

                                (d)   The Seller’s termination of engagement of Transferring Persons shall be effective
                                      as of the day prior to the Closing. The Seller and the Buyer shall cooperate to
                                      ensure an orderly transition of the Transferring Persons.

                                (e)   The Seller shall be fully responsible for all payments payable (by operation of
                                      law, contract or otherwise) to any Transferring Person upon the termination of her
                                      or his engagement with the Seller (including any and all severance pay, notice
                                      periods and any other benefits). In connection with such termination, subject and
                                      in compliance with Applicable Law, the Seller will deliver to each Transferring
                                      Person the applicable termination of notice and release as required under
                                      Applicable Law.

                                (f)   Neither the Buyer nor the Seller intends this ​Section ​7.7 to create any rights or
                                      interest, except as between the Buyer and the Seller, and no present or future
                                      employees of any party (or any dependents of such employees) to this Agreement
                                      will be treated as third party beneficiaries in or under this Agreement.

                      7.8       Service Agreement


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                                (a)   The Buyer shall provide certain services to the Parent and certain other Affiliates,
                                      including the deployment of coins, in accordance with the terms of an
                                      intercompany service agreement to be agreed between the Parent and the Buyer
                                      (the “​Service Agreement​”).

                                (b)   The Buyer and the Parent undertake that the Service Agreement will not be
                                      amended in a way that may harm the rights of the Seller under this Agreement in
                                      any way.

                                (a)   A summary of the key terms of the Service Agreement is attached hereto as
                                      Schedule ​7.8(b)​ (the “​Service Agreement Key Terms​”).

                      7.9       Continued Existence of the Seller

                                The Seller agrees that it shall not commence any winding-up process with respect to
                                itself until the final expiration of the period for claims.

              8.      INDEMNIFICATION

                      8.1       Indemnification

                                Subject to the limitations in this ​Section ​8​, the Seller will defend, indemnify, and hold
                                the Parent and the Buyer, and each of their respective Affiliates, directors, officers and
                                employees (collectively, the “​Buyer Indemnified Parties​”) harmless from and against,
                                and reimburse the Buyer Indemnified Parties with respect to any and all claims, losses,
                                Liabilities, damages, injuries, royalties, awards, judgments, settlements, demands, fines,
                                deficiencies, penalties, Taxes, interest, fees, costs and expenses, including reasonable
                                costs of investigation and defense and fees and expenses of counsel, experts and other
                                professionals (collectively, “​Losses​”) paid, incurred, suffered or sustained by any Buyer
                                Indemnified Party, directly or indirectly, whether or not due to a claim by a third party,
                                in each case, arising out of, resulting from, relating to or in connection with:

                                (a)   any breach of or inaccuracy in any representation or warranty made by the Seller
                                      in this Agreement or any other agreement contemplated herein to which the Seller
                                      is a party;

                                (b)   any claim by a third party alleging facts or circumstances that, if accurate, would
                                      entitle a Buyer Indemnified Party to recovery under ​Section ​8.1(a)​;

                                (c)   any Excluded Liabilities;

                                (d)   any Transfer Taxes;

                                (e)   any breach of any covenant or agreement required to be performed by or on behalf
                                      of the Seller under this Agreement or any other agreement contemplated herein to
                                      which the Seller is a party;

                                (f)   any claims or threatened claims by or purportedly on behalf of any current or
                                      former securityholder of the Seller or rights or purported rights to acquire the
                                      Seller’s securities or other equity interests in the Seller (or the economic value
                                      thereof), or in connection with the transactions contemplated herein; or




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                                (g)   in the case of fraud, intentional misrepresentation or willful breach by the Seller,
                                      any of its Affiliates, or any of their respective representatives (whether or not
                                      acting in their capacity as such).

                      8.2       Limitations

                                Other than in case of fraud or willful misrepresentation, the maximum aggregate
                                amount that the Buyer Indemnified Parties shall be entitled to recover pursuant to
                                Section ​8.1 from the Seller is an amount equal to the amounts paid by the Buyer to the
                                Seller pursuant to this Agreement, including the Purchase Price.

                      8.3       Claims Process

                                In the event that a Buyer Indemnified Party shall sustain or incur any Losses, it shall
                                assert a claim for indemnification by giving written notice thereof to the Seller (a
                                “​Claims Notice​”) which shall describe the facts and circumstances upon which the
                                asserted claim for indemnification is based and shall thereafter keep the Seller informed
                                with respect thereto. If any claim, suit, action or other proceeding to which the
                                indemnity set forth herein applies is brought against a Buyer Indemnified Party (a
                                “​Claim​”), such Buyer Indemnified Party shall give the Seller prompt notice of same.
                                The Seller shall promptly assume, conduct and control the defense of such Buyer
                                Indemnified Party, compromise or settle the Claim, with one counsel reasonably
                                satisfactory to such Buyer Indemnified Party, and the fees and expenses of such counsel
                                shall be at the sole cost and expense of the Seller, provided that such Buyer Indemnified
                                Party may also cooperate in such defense at its sole discretion. Notwithstanding the
                                above, the Seller shall not be entitled to settle the Claim if such settlement shall impose
                                liabilities or blame upon such Buyer Indemnified Party.

                      8.4       Right of Setoff

                                The Parties expressly agree that each of the Parent and the Buyer may set off all
                                amounts to which it may be entitled under ​Section ​8.1 against any amount owed by the
                                Parent or the Buyer (as applicable) to the Seller, including under and pursuant to this
                                Agreement. For greater certainty, if setoff against this Agreement is insufficient to fully
                                pay any amounts under ​Section ​8.1​, then the Seller must fully pay any missing portion
                                of such amounts to the Parent or to the Buyer (as applicable).

              9.      MISCELLANEOUS

                      9.1       Successors and Assigns

                                The terms and conditions of this Agreement shall inure to the benefit of and be binding
                                upon the respective successors and assigns of the Parties. Nothing in this Agreement,
                                express or implied, is intended to confer upon any party other than the Parties or their
                                respective successors and assigns any rights, remedies, obligations, or liabilities under
                                or by reason of this Agreement.

                      9.2       Assignment

                                This Agreement shall not be assigned by operation of law or otherwise, provided that
                                each Buyer Party may assign any of its rights or obligations herein to any of its
                                Affiliates.


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                      9.3       Governing Law

                                This Agreement shall be governed by, and construed in accordance with, the laws of the
                                State of New York, excluding that body of law pertaining to conflict of law, regardless
                                of the laws that might otherwise govern under applicable principles of conflicts of law,
                                and the Parties do hereby consent and submit to the exclusive jurisdiction of the
                                competent courts in New York County, New York, with respect to any dispute or
                                controversy arising out of, or in connection with, this Agreement.

                      9.4       Counterparts; Facsimile or Electronic Signature

                                This Agreement may be executed and delivered by facsimile or electronic signature and
                                in two or more counterparts, each of which shall be deemed an original, but all of which
                                together shall constitute one and the same instrument.

                      9.5       Notices

                                (a)   All notices and other communications given or made pursuant to this Agreement
                                      shall be in writing and shall be deemed effectively given upon the earlier of: (i)
                                      personal delivery to the party to be notified; (ii) when sent, if sent by electronic
                                      mail during normal business hours of the recipient, and if not sent during normal
                                      business hours, then on the recipient’s next Business Day; (iii) five (5) days after
                                      having been sent by registered or certified mail, return receipt requested, postage
                                      prepaid; or (iv) three (3) Business Days after deposit with a nationally recognized
                                      overnight courier, freight prepaid, specifying next business day delivery, with
                                      written verification of receipt.

                                (b)   All communications shall be sent to a Party at its address as set forth below its
                                      signature on the signature page of this Agreement, or to such electronic mail
                                      address or address as subsequently modified by written notice given in accordance
                                      with this ​Section 9.5​; ​provided​ that:

                                      (i)    a copy of any notice given to the Seller shall also be sent to Jason Stone,
                                             CEO of KeyFi, for the attention of Jason, e-mail: jason@keyfi.io; and

                                      (ii)   a copy of any notice given to the Parent or to the Buyer shall also be sent to
                                             Herzog, Fox & Neeman, Asia House, 4 Weizmann Street, Tel Aviv
                                             6423904, Israel, for the attention of Yuval Zilber, Adv.​, e-mail:
                                             zilbery@herzog.co.il.

                      9.6       Expenses

                                Each Party will bear its own fees and expenses in connection with the transactions
                                contemplated hereby, whether or not such transactions shall be consummated. In
                                addition, if any action at law or in equity (including arbitration) is necessary to enforce
                                or interpret the terms of this Agreement, the prevailing party shall be entitled to
                                reasonable attorneys’ fees, costs and necessary disbursements in addition to any other
                                relief to which such party may be entitled.

                      9.7       Entire Agreement

                                This Agreement and the other documents delivered pursuant hereto at a Closing
                                constitute the full and entire understanding and agreement between the Parties hereto
                                with regard to the subjects hereof and thereof.
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                      9.8       Amendments and Waivers

                                Any term of this Agreement may be amended, terminated or waived (either generally or
                                in a particular instance and either retroactively or prospectively) only with the written
                                consent of the Seller, the Parent and the Buyer. A waiver by a Party in respect of a
                                breach by another Party of its obligations: (a) shall be in writing; (b) shall not be
                                construed as a justification or excuse for a further breach of its obligations; (c) shall not
                                affect any other enforcement of the same or any other right; and (d) shall be confined to
                                the specific circumstances in which it is given.

                      9.9       Severability

                                The invalidity or unenforceability of any provision of this Agreement shall in no way
                                affect the validity or enforceability of any other provision.

                      9.10 Delays or Omissions

                                No delay or omission to exercise any right, power or remedy accruing to any Party
                                under this Agreement, upon any breach or default of any other Party under this
                                Agreement, shall impair any such right, power or remedy of such non-breaching or
                                non-defaulting Party nor shall it be construed to be a waiver of any such breach or
                                default, or an acquiescence therein, or of or in any similar breach or default thereafter
                                occurring; nor shall any waiver of any single breach or default be deemed a waiver of
                                any other breach or default theretofore or thereafter occurring. All remedies, either
                                under this Agreement or by law or otherwise afforded to any Party, shall be cumulative
                                and not alternative.

                      9.11 Entire Agreement

                                This Agreement (together with the Recitals and Schedules attached hereto, and any
                                other deliverables hereunder) contains the entire understanding of the Parties with
                                respect to its subject matter and all prior negotiations, discussions, agreements,
                                representations, warranties, commitments and understandings between them with
                                respect thereto (including previous drafts of this Agreement) shall be null and void in
                                their entirety, effective immediately with no further action required. The Term Sheet
                                MOU signed by the Parties on September 25, 2020, with respect to the transactions
                                contemplated herein, is hereby terminated and of no further force and effect and shall
                                not be used in order to interpret any of the provisions of this Agreement.

                      9.12 Further Actions

                                At any time and from time to time, each Party agrees, without further consideration, to
                                take such actions and to execute and deliver such documents as may be reasonably
                                necessary to effectuate the purposes of this Agreement.

                      9.13 Third-Party Beneficiaries

                                Nothing in this Agreement shall create or confer upon any Person, other than the
                                Parties, any rights, remedies, obligations or liabilities, with the exception of the legal
                                successors and permitted assigns of the Parties and except as expressly provided herein,
                                including ​Sections ​8​ (​Indemnification​).

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              IN WITNESS WHEREOF​, the Parties have executed this Asset Purchase Agreement as of the
              date and year first written above.



              SELLER

              KEYFI, INC.

              By:

              Name       

              :

              Title:     



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              Address     for
              Notices:           


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                                Attn:    



                                Email:      




                                           [​Signature Page – Asset Purchase Agreement​]
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              IN WITNESS WHEREOF​, the Parties have executed this Asset Purchase Agreement as of the
              date and year first written above.



              PARENT


              Address     for
              Notices:          1 Bartholomew Lane, London,
                                England, EC2N 2AX




              Attn:             legal

              Email:            legal@celsius.network




              BUYER

              CELSIUS KEYFI LLC

              By:   Celsius       Network       Limited,      the
              incorporator

              By:

              Name       Alex Mashinsky
              :

              Title:     CEO



                                221 River Street,

                                9th Floor, Suite 9129
              Address     for
              Notices:          Hoboken NJ 07030




              Attn              legal

              Email:            legal@celsius.network


                                          [​Schedule ​2.1(a) – Seller ​ ​Intellectual Property]
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                                                         S​CHEDULE ​2.1(a)

                                                    Seller Intellectual Property

              [​NTD​: Please list the Seller Intellectual Property.​]




                                          [​Schedule ​2.1(a) – Seller ​ ​Intellectual Property]
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                                                        SCHEDULE ​2.1(b)

                                                            Seller Contracts

              [​NTD​: Please list the Seller Contracts.​]




                                                [​Schedule ​2.1(b) – Seller Contracts]
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                                                       SCHEDULE ​2.1(c)

                                                Tangible Assets and Equipment

              [​NTD​: Please list any tangible assets and equipment related to the Business.​]




                                      [​Schedule ​2.1(c) – Tangible Assets and Equipment​]
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                                                      SCHEDULE ​7.7(a)

                                                    Transferring Persons

              [​NTD​: Please include the names of each Transferring Person and the salary entitlement.​]


                                                            Annual Gross Consideration for Employment or
               Name                                         Services (as applicable)

               [●]                                          USD [●]

               [●]                                          USD [●]

               [●]                                          USD [●]

               [●]                                          USD [●]

               [●]                                          USD [●]

               [●]                                          USD [●]

                                                   Total:   USD _____.




                                           [​Schedule ​7.7(a) – Transferring Persons]
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                                                       SCHEDULE ​7.8(​b)

                                                 Service Agreement Key Terms

              1.    In this Schedule:

                    a.    “​APY​” means the ​annualized rate of return for coins earned from deploying
                          coins on a platform or rewards paid for deposits​;

                    b.    “​Authorized Decentralized Finance Activities​” means any deployed coins,
                          such as BTC, ETH, stable coins, and other assets are deployed to authorized
                          activities which earn coins from lending, borrowing, high-frequency liquidity
                          provisions, and other authorized DeFi activities;

                    c.    “​Insurance Policy Cost​” means the lowest of up to 1% of total AUM deployed
                          by the Buyer, or the actual cost of such policy purchased by Celsius.

                    d.    “​Net Profit​” means the Net Profits as calculated in accordance with Section 9
                          below (as applicable);“​Profit Sharing Percentage for activity​” means a ​profit
                          share for coins attributed to each activity as described ​herein;

                    e.    “​Reserve Rate​” means ​the percentage of holdings in a coin that are reserved by
                          Parent or its Affiliates (excluding the Buyer) (“​Celsius​”) ​for withdrawals. The
                          reserve rate used for each coin will be determined on a weekly basis as
                          displayed through Celsius’ Instilend platform​;

                    f.    “​Rewards APY​” means the annualized rate of rewards paid to depositors of
                          coins as a percentage of their deposited coins;

                    g.    “​Payout Date​” has the meaning given to that term herein;

                    h.    “​Staking Coins​” means a type of mining through which new coins are earned
                          through maintaining deposits of coins on a platform;

                    i.    “​Staking Plus Coins​” means Staking Coins with respect to which the staking
                          activity generates earnings of multiple types of coins;

                    j.    “​Start Date​” means August 17, 2020.

              2.    The Buyer shall provide certain services to the Parent, including the deployment of
                    coins (the “​Services​”). With respect to such Services, all revenues received from third
                    parties shall be paid to the Parent or an Affiliate.

              3.    With respect to ​Staking Coins and Staking Plus Coins​, the Net Profits (as described
                    in section 10), as calculated in accordance with the Trading Activities and
                    Performance Calculations set forth below, with no double counting, shall be allocated
                    as follows:

                    a.    From the Start Date until the end of 2022: (i) fifty percent (50%) of the Net
                          Profits will be allocated to the Buyer, ; and (ii) from the portion payable to the

                                        [​Schedule ​7.8(​b) – Service Agreement Key Terms​]
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                            Buyer, 20% shall be paid to the Seller as consideration for the Services, and (iii)
                            the balance of the Net Profits will be allocated to and retained by the Parent.

                   b.       From the beginning of 2023 and continuing into perpetuity, the allocation shall
                            be (i) fifty percent (20%) of the Net Profits will be allocated to the Buyer, and
                            (iii) the balance of the Net Profits will be allocated to and retained by the Parent.

              4.    With respect to ​Authorized Decentralized Finance Activities​, on and from the Start
                    Date and thereafter until the end of 2022, of the Net Profits (as described in section
                    10), calculated in accordance with the Trading activities and Performance Calculations
                    set forth below, with no double counting: (a) twenty percent (20%) shall be attributed
                    to the Buyer, and (b) of the Buyer’s portion, 20% shall be further attributed and
                    payable to the Seller, and (c) eighty percent (80%) shall be allocated to and retained
                    by the Parent.

                         a. From the beginning of 2023 and continuing into perpetuity, the allocation shall
                            remain as above with the modification that the portion attributed and payable to
                            Seller shall revert to Buyer.

              5.    For the avoidance of doubt, unless explicitly agreed in writing by Parent, the Buyer
                    shall not be entitled to any other compensation other than the compensation explicitly
                    set forth herein, including, without limitation, for any other services performed by the
                    Buyer or any of its employees or service providers for the benefit of Celsius.

              6.    Trading activities and Performance Calculations

                    a.      The following are approved activities and methods of calculating performance
                            fees under this agreement. Additional activities and/or changes to methods of
                            calculating performance fees need to be submitted to and approved by the Chief
                            Financial Officer and the Financial Risk Officer of the Parent.

                    b.      Net Profits for each coin across all activities will be computed each week from
                            Friday to Friday, and a running total of such Gross Profits for each coin across
                            all activities will be recorded in the number of tokens and in USD value.

                    c.      Payouts of Net Profits will be made only for positive accumulated Net Profits
                            across all coin types and activities at Payout Dates. For clarity, payouts are not
                            made for individual performance of specific coins within particular activities but
                            are based on performance across all coins and activities.

                    d.      Payouts will be made within 15 days of each Payout Date. The first payout date
                            will be 12/31/2020, and subsequent ones will be on the 15​th of each month (or
                            the first business day thereafter, if occurring on a weekend or national holiday)
                            immediately following the month in which activities attributable to the Payouts
                            occur. Payouts may be made in USD, or at the election of the payee, in tokens
                            earned, up to 50% the amount of Net Profits for each token type. The token
                            Gross Profits in USD shall be calculated per Subsection (e) hereof. Payouts of
                            specific tokens cannot exceed the net profits generated in that token. Payouts
                            are subject to a high water mark, such that any losses incurred are reflected as

                                     [​Schedule ​7.8(​b) (cont.) – Service Agreement Key Terms​]
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                         expenses in the running totals of Net Profits and will impact subsequent payouts.

                    e.   Where called for, 7-day and monthly weighted averages are used for each
                         weekly and monthly performance calculation, respectively, for both token prices
                         in USD (or other applicable base currency, as mutually-agreed) as well as for all
                         APYs and Rates described in the agreement.

                    f.   Approved activities include Staking Coins, Staking Plus Coins and Authorized
                         Decentralized Finance Activities.

              7.    Weekly and Monthly Performance Calculation for Activities

                    On a weekly and monthly basis, the following performance calculations will be
                    performed for each coin that is allocated to the approved activities:

                         a. Revenues for activity in Coins

                                i. Coins Allocated to activity = Coins that the Parent makes available
                                   for an activity

                                ii. Coins Deposited = Coins Allocated to activity * (1 + Reserve Rate)

                                iii. Earned Coins = Coins Earned from All Sources as Rewards from
                                     Coins Allocated to activity

                                iv. Note: Earned coins are recorded for each coin within each activity.

                         b. Costs for activity in Coins [are calculated separately for each token type]

                                i. Weekly or Monthly Rewards APY Rate for activity in Coin =
                                   [(Rewards APY for Coin) * (Percentage Earning Interest in Native
                                   Coin) + (Rewards APY for CEL tokens) * (Percentage of Deposits in
                                   Native Coin Earning Interest in CEL)] / Number of Periods.

                                    Number of Periods = 52 for Weekly and 12 for Monthly Rewards

                                ii. Rewards Costs = Coins Deposited * Weekly or Monthly Rewards
                                    APY for activity in Coin

                                iii. Note: Weekly or Monthly Deposit APY Rate reflects that rewards to
                                     retail depositors can be paid in the coin deposited, or in CEL tokens.

                         c. Gross Profits for activity in Coins

                                i. Gross Profits Attributed to activity in Coins = (Earned Coins –
                                   Rewards Costs)

                                ii. Note: This is performed for each coin within each activity.

                         d. Gross Profits for Activities in USD

                                i. Gross Profits Attributed to activity in USD = Gross Profits Attributed
                                  [​Schedule ​7.8(​b) (cont.) – Service Agreement Key Terms​]
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                                     to activity in Coins * USD Rate for Coins in activity

                                  ii. Note: This is performed for each coin within each activity.

                                  iii. Note: If the context requires, the USD Rate will be taken as a
                                       multiday weighted average (per Section 6(e) hereof or otherwise).

                          e. Total Gross Profits for All activities in Coins

                                  i. Total Gross Profit for All activities in Coins = Summation [ Gross
                                     Profits Attributed to activity in Coins]

                                  ii. Total Gross Profit for All activities in USD = Summation [ Gross
                                      Profits Attributed to activity in USD]

                                  iii. Note: Summation refers to adding Gross Profits Attributed to each
                                       activity across all coins.

              8.     Total Gross Profits for ​Sale of Software/Subscriptions

                   a. Profits from the sales of Software Licenses / Subscriptions to third parties (MPC
                      software modules, accounting systems, etc), will be split equally (fifty percent to
                      each party) as between Parent and Buyer until the end of 2022. Buyer in turn will
                      share 20% of its share with Seller during the foregoing period.
                   b. From the beginning of 2023 and continuing into perpetuity, the profit share shall
                      remain as above with the modification that the portion attributed and payable to
                      Seller shall revert to Buyer.
                   c. Any development must be approved by the Parent’s Chief Technology Officer
                      (“CTO”) or Chief Executive Officer (“CEO”), in writing, after it has been
                      determined that it is needed for the activity performed by Buyer; and any such sale
                      should be approved by the Chief Revenue Officer or CEO, based on the group’s
                      needs and activity.

              9.     Payout Period and Net Profits Calculations

                     Running totals of Total Gross Profit for All activities in Coins and Total Profit for All
                     activities in USD will be calculated each week and month. The following calculations
                     will be performed at the end of each payout period. With the exception of the first
                     Payout, the Payout period shall be one month.

                     Total Period Gross Profit for All activities in USD = Summation [Total Gross Profit
                     for All activities in USD]

                     Note: Summation refers to summing all monthly gross profits for all attributable
                     activities across coins for the payout period.

                     Net Profit = Total Period Gross Profit for All activities in USD - Salaries * 2 (for
                     initial 5 employees)​1​- Hardware/Cloud Expenses - Cumulative losses from Previous
              1
               Note: Any additional hires will come out at 1x      salary. In addition, all additional hires shall be
              approved by the CTO or CEO.
                                    [​Schedule ​7.8(​b) (cont.) – Service Agreement Key Terms​]
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                    Periods - Insurance Policy Costs - Staking Costs - Transaction Fees.




              10. Division of Net Profit by Activity for Payout Period

              Net Profit for Staking Coins and Staking Plus Coins = Net Profit * Total Period Gross Profit
              for all Staking Activities in USD / Total Period Gross Profit for all activities in USD

              Net Profit for Decentralized Finance Activities = Net Profit * Total Period Gross Profit for
              all Defi Activities in USD / Total Period Gross Profit for all activities in USD




                                  [​Schedule ​7.8(​b) (cont.) – Service Agreement Key Terms​]
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                                                 Service Agreement
    This Service Agreement (the “​Agreement​”), dated December 31, 2020 (“​Effective Date​”), states the
    terms and conditions that govern the contractual agreement between ​CELSIUS KEYFI LLC​, organized
    and existing under the laws of the State of Delaware, with its principal place of business at 221 River
    Street Suite 9129, Hoboken, New Jersey 07030 (“​KEYFI​”) and ​CELSIUS NETWORK LIMITED​, a
    private company incorporated under the laws of England and Wales, with its principal place of business
    at 1 Bartholomew Lane, London, England, EC2N 2AX (“​Celsius​”). Each of KEYFI and Celsius shall be
    referred to herein as a “​Party​”, and together, the “​Parties​”.
    WHEREAS, ​KEYFI offers financial services in the field of cryptocurrency; and

    WHEREAS, ​Celsius desires to retain the services of KEYFI to render certain financial services
    according to the terms and conditions herein; and

    NOW, THEREFORE, ​In consideration of the mutual covenants and promises made by the parties
    hereto, the parties covenant and agree as follows:
    1.         Interpretation & Definitions

         (a)     The preamble to this Agreement constitutes an integral part hereof. The headings of the
                 sections and subsections of this Agreement are for convenience of reference only and are not
                 to be considered in interpreting this Agreement.
         (b)     In this Agreement, unless the context otherwise requires, “Intellectual Property” means all
                 patents, registered copyrights, and trademarks, and, without limitation, any and all inventions,
                 improvements, designs, ideas, concepts, innovations, original works of authorship, formulas,
                 concepts, techniques, know how, methods, systems, processes, compositions of matter,
                 computer software programs, databases, mask works, and trade secrets; each of the foregoing
                 works, in which rights may subsist, whether or not patentable, copyrightable or protectable as
                 trade secrets, irrespective of whether such has been registered in a patent, copyright,
                 trademark or other form, and irrespective of whether it constitutes a commercial or
                 professional secret.
    2.         Term & Termination

    This Agreement is effective and shall commence as of the date first above-written and shall continue to
    be in effect until terminated by either Party by providing the other Party with a thirty (30) days prior
    written notice.

    3.         Services

    KEYFI shall provide certain services to Celsius, including the deployment of coins, as is further
    provided in ​Schedule A (the “​Services​”). The relationship of the parties with respect to the provision of
    the Services shall further be governed by any express stipulations provided in ​Schedule A​. With respect
    to such Services, all coins deployed by KEYFI and revenues generated and/or received from third
    parties shall be owned by and paid to Celsius or an Affiliate of Celsius (as determined by Celsius),
    excluding KEYFI. “​Affiliate​” means any direct or indirect subsidiary of Celsius and any other entity
    directly or indirectly controlling, controlled by, or under common control with Celsius.

    4.         Compensation

    As a sole and exclusive compensation for the Services, Celsius shall pay KEYFI the consideration set
    forth in ​Schedule B​ attached hereto.
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    5.     Intellectual Property Rights          69 of 76

           (a) The Parties acknowledge and agree that KEYFI will hold all new intellectual property, unless
           agreed upon in writing by both parties, rights in any work product resulting from the Services
           including, but not limited to, strategies,copyright and trademark rights (the “​Resulting Works​”).
           Celsius agrees not to claim any intellectual property ownership in the Resulting Works at any
           time prior to or after the completion and delivery of the Resulting Works to Celsius, except to the
           extent the Resulting Works are or contain the Original IP, other pre-existing IP of Celsius.

    6.     Independent Contractor

    The parties hereto understand and agree that KEYFI shall perform Services for Celsius pursuant to this
    Agreement as an independent contractor. Nothing in this Agreement shall be construed to create the
    relationship of employer and employee or of general agency between the parties. The parties hereto
    further acknowledge and agree that this Agreement does not create a partnership or joint venture
    between the Parties, and is exclusively a contract for service.

    7.     Confidentiality

    The Parties acknowledge that, from time to time, Celsius may disclose to KEYFI either directly or
    indirectly in writing, orally or by inspection of tangible objects information which is proprietary or
    confidential or which would, under the circumstances, be understood by a reasonable person to be
    proprietary and nonpublic, including without limitation, the terms of this Agreement, non-public
    information and all unpublished marketing manuals, service manuals, information, data, reports and
    other similar materials or records provided by Celsius and/or its Affiliates to KEYFI pursuant to this
    Agreement or otherwise, as well as all work products of the Services and related notes, files, and
    documents (“​Confidential Information​”). KEYFI shall use such Confidential Information solely for
    fulfilling its responsibilities and obligations under this Agreement and for no other purpose. KEYFI
    shall retain such Confidential Information in confidence and shall not disclose it to any third party
    without Celsius' prior written consent. KEYFI shall use at least the same procedures and degree of care
    which it uses to protect its own Confidential Information of like importance, and in no event less than
    reasonable care, and shall be responsible and liable for any use or disclosure of the Confidential
    Information by its employees, agents or subcontractors in violation of this Agreement. KEYFI shall
    immediately notify Celsius of any unauthorized use or disclosure, or suspected unauthorized use or
    disclosure, of the Confidential Information.

    7.1 Exceptions​. The obligations set forth in this Section ​7 shall not apply to information that KEYFI is
        able to demonstrate, though clear and convincing evidence:

         (a)    was generally available to the public at the time of its disclosure to KEYFI hereunder;

         (b)    became generally available to the public after its disclosure other than through an act or
         omission of KEYFI in breach of this Agreement; or

         (c)     was subsequently, lawfully and independently disclosed to KEYFI by a person other than
         Celsius, not in violation of the confidentiality agreement, arrangement or understanding with such
         person.

    7.2     Required Disclosures​. In the event that any disclosure of the Confidential Information by KEYFI
    is required pursuant to applicable law, KEYFI shall provide Celsius reasonable notice and opportunity
    to contest the need for such disclosure, or to seek a protective order therefor. If Celsius fails to obtain a
    protective order, KEYFI will disclose only that portion of the Confidential Information that is legally so
    required to be disclosed, provided that any Confidential Information so disclosed shall maintain its
    confidentiality protection for all purposes other than such legally required disclosure.
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    8.     Indemnification                            70 of 76

    KEYFI will defend, indemnify, and hold Celsius, its Affiliates, and their respective directors, officers,
    and employees (collectively, the “​Celsius ​Indemnified Parties​”) harmless from and against, and
    reimburse Celsius Indemnified Parties with respect to any and all claims, losses, liabilities, damages,
    injuries, royalties, awards, judgments, settlements, demands, fines, deficiencies, penalties, taxes,
    interest, fees, costs, and expenses, including reasonable costs of investigation and defense and fees and
    expenses of counsel, experts and other professionals (collectively, “​Losses​”) paid, incurred, suffered or
    sustained by any Celsius Indemnified Party, directly or indirectly, whether or not due to a claim by a
    third party, in each case, arising out of, resulting from, relating to or in connection with:

           (a)    any breach of any covenant or agreement required to be performed by or on behalf of
           KEYFI under this Agreement or any other agreement contemplated herein to which KEYFI is a
           party;

           (b)     any claims or threatened claims by or purportedly on behalf of any current or former
           security holder of KEYFI or rights or purported rights to acquire KEYFI's securities or other
           equity interests in the KEYFI (or the economic value thereof), or in connection with the
           transactions contemplated herein; or

           (c)    fraud, intentional misrepresentation, or willful breach by the KEYFI, any of its affiliates,
           or any of their respective representatives (whether or not acting in their capacity as such).

    9.     Notices

    All effective notices hereunder shall be in writing and deemed given and received when delivered in
    person, by email, facsimile, or by commercial air courier service. Notices shall be addressed to each
    party at its address set forth herein, or such other address as the recipient may have specified by earlier
    notice to the sender. Any notice shall be effective and be deemed to have been served, if personally
    delivered or sent by email or facsimile, on the next business day, and if by courier, on the second
    business day thereafter.

    10.    Assignment

    This Agreement shall not be assigned by operation of law or otherwise, provided that Celsius may
    assign any of its rights or obligations herein to any of its Affiliates with reasonable advance written
    notice to KEYFI.

    11.    Waiver & Modification

    No waiver or modification of this Agreement shall be valid unless in writing and agreed upon by both
    Parties. Any consent by any party to, or waiver of, a breach or condition of this Agreement by the other,
    whether express or implied, shall not constitute consent to, waiver of, or excuse for any other different
    or subsequent breach or suspension or variation from any condition or obligation hereof.

    12.    Entire Agreement

    This Agreement, along with its exhibits, schedules, annexes, and all other agreements referenced (which
    are hereby incorporated by reference), is executed and delivered with the understanding that it embodies
    the entire Agreement between the Parties and that there are no prior representations, warranties, or
    agreements relating to the subject matter of this Agreement.
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    13.    Applicable Law                            71 of 76

    This Agreement shall be governed by, and construed in accordance with, the laws England and Wales,
    excluding that body of law pertaining to conflict of law, regardless of the laws that might otherwise
    govern under applicable principles of conflicts of law, and the Parties do hereby consent and submit to
    the exclusive jurisdiction of the competent courts in London, England, with respect to any dispute or
    controversy arising out of, or in connection with, this Agreement.

    IN WITNESS WHEREOF, ​each of the Parties has executed this Agreement, both Parties by its
    respective duly authorized officer, as of the date and year first above written.

    Celsius Network Limited
    Signature: ____________________
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    Printed Name:________________
    Title: _________________
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    Celsius KeyFi LLC


    Signature:____________________

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    I. Material Service & Relationship Terms​.

       ● Celsius shall perform coin staking exclusively through KEYFI for the duration of and pursuant
         to the terms of this Agreement, unless Celsius has a more profitable strategy (based on gross
         revenue) to coin staking, either independently or through a third party. Celsius will notify
         KEYFI and the exclusivity provision will be waived.
       ● Celsius and KEYFI accounting shall remain separate and administered independently by the
         respective parties, unless for the purpose of auditing or valuing the entire Celsius group or for
         taxation, reporting or any other request or compliance requirement derived from applicable
         regulation.
       ● KEYFI shall retain control of its internal budget and profit & loss determination in good faith,
         notwithstanding,
             o KEYFI shall obtain Celsius approval for any expenditures exceeding $50,000
                  individually, or in aggregate in a calendar year if a recurring expenditure, once KEYFI
                  costs exceed $2 million in a calendar year (exclusive of employee costs), and
             o Celsius shall pay (including by way of advancement or reimbursement, as applicable) any
                  reasonable costs reasonably-necessitated in delivering the Services as and when
                  requested by KEYFI. For the avoidance of doubt, all such costs will be considered as cost
                  deducted from gross revenues under section II below.
       ● KEYFI shall provide financials to Celsius on a weekly basis on a date chosen by the Celsius’
         CFO. Additionally, financials must be provided within 24 business hours if requested by the
         Celsius’ CFO, CEO and/or CIO.
       ● Celsius has the right to verify, audit and confirm all accounting and financial records,
         books,statements prepared by KEYFI or any other information requested by it, at its sole
         discretion.. KEYFI will act in good faith to prepare and provide these documents in a timely
         manner.
       ● KEYFI shall meet with Celsius’ CIO,Risk Officer and/or CEO on a periodic basis to review
         KEYFI assets and performance and disclose and approve all strategies and related issues applied
         to the deployment of all coins.
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     II. Service Agreement Key Terms

1.    In this Schedule:

      1.2   “​APY​” means the ​annualized rate of return for coins earned from deploying coins on a
            platform or rewards paid for deposits​;

      1.3   “​Authorized Decentralized Finance Activities​” means any deployed coins, such as
            BTC, ETH, stable coins, and other assets are deployed to authorized activities which earn
            coins from lending, borrowing, high-frequency liquidity provisions, and other authorized
            DeFi activities;

      1.4   “​Insurance Policy Cost​” means the lowest of up to 1% of total AUM deployed by the
            Buyer, or the actual cost of such policy purchased by Celsius.

      1.5   “​Net Profit​” means the Net Profits as calculated in accordance with Section 9 below (as
            applicable);“​Profit Sharing Percentage for activity​” means a ​profit share for coins
            attributed to each activity as described ​herein;

      1.6   “​Reserve Rate​” means ​the percentage of holdings in a coin that are reserved by ​Parent or
            its Affiliates (excluding the Buyer) (“​Celsius​”) ​for withdrawals. The reserve rate used for
            each coin will be determined on a weekly basis as displayed through Celsius’ Instilend
            platform​;

      1.7   “​Rewards APY​” means the annualized rate of rewards paid to depositors of coins as a
            percentage of their deposited coins;

      1.8   “​Payout Date​” has the meaning given to that term herein;

      1.9   “​Staking Coins​” means a type of mining through which new coins are earned through
            maintaining deposits of coins on a platform;

      1.10 “​Staking Plus Coins​” means Staking Coins with respect to which the staking activity
           generates earnings of multiple types of coins;

      1.11 “​Start Date​” means August 17, 2020.

2.    The Buyer shall provide certain services to the Parent, including the deployment of coins (the
      “​Services​”). With respect to such Services, all revenues received from third parties shall be
      paid to the Parent or an Affiliate.

3.    With respect to ​Staking Coins and Staking Plus Coins​, the Net Profits (as described in
      section 10), as calculated in accordance with the Trading Activities and Performance
      Calculations set forth below, with no double counting, shall be allocated as follows:

      3.1   From the Start Date until the end of 2022: (i) fifty percent (50%) of the Net Profits will
            be allocated to the Buyer, ; and (ii) from the portion payable to the Buyer, 20% shall be
            paid to the Seller as consideration for the Services, and (iii) the balance of the Net Profits
            will be allocated to and retained by the Parent.
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      3.2 From the beginning of 2023 and continuing 74   intoofperpetuity,
                                                                76         the allocation shall be (i) fifty
           percent (20%) of the Net Profits will be allocated to the Buyer, and (iii) the balance of the
           Net Profits will be allocated to and retained by the Parent.

 4.    With respect to ​Authorized Decentralized Finance Activities​, on and from the Start Date and
       thereafter until the end of 2022, of the Net Profits (as described in section 10), calculated in
       accordance with the Trading activities and Performance Calculations set forth below, with no
       double counting: (a) twenty percent (20%) shall be attributed to the Buyer, and (b) of the
       Buyer’s portion, 20% shall be further attributed and payable to the Seller, and (c) eighty
       percent (80%) shall be allocated to and retained by the Parent.

         a. From the beginning of 2023 and continuing into perpetuity, the allocation shall remain as
            above with the modification that the portion attributed and payable to Seller shall revert
            to Buyer.

 5.    For the avoidance of doubt, unless explicitly agreed in writing by Parent, the Buyer shall not be
       entitled to any other compensation other than the compensation explicitly set forth herein,
       including, without limitation, for any other services performed by the Buyer or any of its
       employees or service providers for the benefit of Celsius.

 6.    Trading activities and Performance Calculations

       6.1   The following are approved activities and methods of calculating performance fees
             under this agreement. Additional activities and/or changes to methods of calculating
             performance fees need to be submitted to and approved by the Chief Financial Officer
             and the Financial Risk Officer of the Parent.

       6.2   Net Profits for each coin across all activities will be computed each week from Friday to
             Friday, and a running total of such Gross Profits for each coin across all activities will be
             recorded in the number of tokens and in USD value.

       6.3   Payouts of Net Profits will be made only for positive accumulated Net Profits across all
             coin types and activities at Payout Dates. For clarity, payouts are not made for individual
             performance of specific coins within particular activities but are based on performance
             across all coins and activities.

       6.4   Payouts will be made within 15 days of each Payout Date. The first payout date will be
             12/31/2020, and subsequent ones will be on the 15​th of each month (or the first business
             day thereafter, if occurring on a weekend or national holiday) immediately following the
             month in which activities attributable to the Payouts occur. Payouts may be made in
             USD, or at the election of the payee, in tokens earned, up to 50% the amount of Net
             Profits for each token type. The token Gross Profits in USD shall be calculated per
             Subsection (e) hereof. Payouts of specific tokens cannot exceed the net profits generated
             in that token. Payouts are subject to a high water mark, such that any losses incurred are
             reflected as expenses in the running totals of Net Profits and will impact subsequent
             payouts.

       6.5   Where called for, 7-day and monthly weighted averages are used for each weekly and
             monthly performance calculation, respectively, for both token prices in USD (or other
             applicable base currency, as mutually-agreed) as well as for all APYs and Rates
             described in the agreement.
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      6.6 Approved activities include Staking Coins,
                                                 75 of Staking
                                                       76      Plus Coins and Authorized
           Decentralized Finance Activities.

7.   Weekly and Monthly Performance Calculation for Activities

     On a weekly and monthly basis, the following performance calculations will be performed for
     each coin that is allocated to the approved activities:

     7.1   Revenues for activity in Coins

           (a)   Coins Allocated to activity = Coins that the Parent makes available for an activity

           (b)   Coins Deposited = Coins Allocated to activity * (1 + Reserve Rate)

           (c)   Earned Coins = Coins Earned from All Sources as Rewards from Coins Allocated
                 to activity

           (d)   Note: Earned coins are recorded for each coin within each activity.

     7.2   Costs for activity in Coins [are calculated separately for each token type]

           (a)   Weekly or Monthly Rewards APY Rate for activity in Coin = [(Rewards APY for
                 Coin) * (Percentage Earning Interest in Native Coin) + (Rewards APY for CEL
                 tokens) * (Percentage of Deposits in Native Coin Earning Interest in CEL)] /
                 Number of Periods.

                      Number of Periods = 52 for Weekly and 12 for Monthly Rewards

           (b)   Rewards Costs = Coins Deposited * Weekly or Monthly Rewards APY for activity
                 in Coin

           (c)   Note: Weekly or Monthly Deposit APY Rate reflects that rewards to retail
                 depositors can be paid in the coin deposited, or in CEL tokens.

     7.3   Gross Profits for activity in Coins

           (a)   Gross Profits Attributed to activity in Coins = (Earned Coins – Rewards Costs)

           (b)   Note: This is performed for each coin within each activity.

     7.4   Gross Profits for Activities in USD

           (a)   Gross Profits Attributed to activity in USD = Gross Profits Attributed to activity in
                 Coins * USD Rate for Coins in activity

           (b)   Note: This is performed for each coin within each activity.

           (c)   Note: If the context requires, the USD Rate will be taken as a multiday weighted
                 average (per Section 6(e) hereof or otherwise).

     7.5   Total Gross Profits for All activities in Coins

           (a)   Total Gross Profit for All activities in Coins = Summation [ Gross Profits
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               Attributed to activity in Coins]  76 of 76

              (b)   Total Gross Profit for All activities in USD = Summation [ Gross Profits Attributed
                    to activity in USD]

              (c)   Note: Summation refers to adding Gross Profits Attributed to each activity across
                    all coins.

8.      Total Gross Profits for Sale of Software/Subscriptions

      a. Profits from the sales of Software Licenses / Subscriptions to third parties (MPC software
         modules, accounting systems, etc), will be split equally (fifty percent to each party) as
         between Parent and Buyer until the end of 2022. Buyer in turn will share 20% of its share
         with Seller during the foregoing period.
      b. From the beginning of 2023 and continuing into perpetuity, the profit share shall remain as
         above with the modification that the portion attributed and payable to Seller shall revert to
         Buyer.
      c. Any development must be approved by the Parent’s Chief Technology Officer (“CTO”) or
         Chief Executive Officer (“CEO”), in writing, after it has been determined that it is needed for
         the activity performed by Buyer; and any such sale should be approved by the Chief Revenue
         Officer or CEO, based on the group’s needs and activity.

9.      Payout Period and Net Profits Calculations

        Running totals of Total Gross Profit for All activities in Coins and Total Profit for All activities
        in USD will be calculated each week and month. The following calculations will be performed
        at the end of each payout period. With the exception of the first Payout, the Payout period shall
        be one month.

        Total Period Gross Profit for All activities in USD = Summation [Total Gross Profit for All
        activities in USD]

        Note: Summation refers to summing all monthly gross profits for all attributable activities
        across coins for the payout period.

        Net Profit = Total Period Gross Profit for All activities in USD - Salaries * 2 (for initial 5
        employees)​1​- Hardware/Cloud Expenses - Cumulative losses from Previous Periods - Insurance
        Policy Costs - Staking Costs - Transaction Fees.

10.      Division of Net Profit by Activity for Payout Period

Net Profit for Staking Coins and Staking Plus Coins = Net Profit * Total Period Gross Profit for all
Staking Activities in USD / Total Period Gross Profit for all activities in USD

Net Profit for Decentralized Finance Activities = Net Profit * Total Period Gross Profit for all Defi
Activities in USD / Total Period Gross Profit for all activities in USD




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 Note: Any additional hires will come out at 1x        salary. In addition, all additional hires shall be approved
by the CTO or CEO.
